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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

 GARRISON SOUTHFIELD PARK LLC,                    )
                                                  )
                             Plaintiff,           )
                                                  )
                             v.                   )
                                                  )
 CLOSED LOOP REFINING AND                         )
 RECOVERY, INC.,                                  )      Case No. 2:17-CV-783
                                                  )
 BRENT BENHAM,                                    )      Judge ________________
                                                  )
 DAVID CAUCHI,                                    )
                                                  )
 BRIAN LAPOINT,                                   )      JURY DEMAND
                                                  )      ENDORSED HEREON
 FEDERAL PRISON INDUSTRIES, INC.                  )
  D/B/A UNICOR,                                   )
                                                  )
 KUUSAKOSKI INC.,                                 )
                                                  )
 KUUSAKOSKI GLASS RECYCLING LLC,                  )
                                                  )
 KUUSAKOSKI US LLC,                               )
                                                  )
        and                                       )
                                                  )
 VINTAGE TECH, LLC A/K/A                          )
  VINTAGE TECH RECYCLERS, INC.,                   )
                                                  )
                             Defendants.          )

                                          COMPLAINT

        Plaintiff Garrison Southfield Park LLC (“Garrison” or “Plaintiff”), by the

 undersigned counsel, as and for its Complaint against defendants Closed Loop Refining

 and Recovery, Inc. (“Closed Loop”), Brent Benham, David Cauchi, Brian LaPoint (with

 Defendants Benham, Cauchi, and LaPoint, respectively and together with Defendant

 Closed Loop, the “Closed Loop Defendants”), Kuusakoski Inc., Kuusakoski Glass


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 Recycling LLC (“Kuusakoski Recycling”), Kuusakoski US LLC, and Vintage Tech, LLC

 a/k/a Vintage Tech Recyclers, Inc. (“Vintage Tech”) (with Defendants Kuusakoski Inc.,

 Kuusakoski Recycling, Kuusakoski US LLC, and Vintage Tech, respectively and together,

 the “Kuusakoski Defendants”), Federal Prison Industries, Inc. d/b/a UNICOR

 (“UNICOR”), (with Defendants Kuusakoski Inc., Kuusakoski Recycling, Kuusakoski US

 LLC, Vintage Tech, and UNICOR, respectively and together, the “Arranger/Transporter

 Defendants”), allege as follows.

                               NATURE OF THE ACTION

        1.      This action seeks declaratory relief, cost recovery and common law

 damages resulting from environmental contamination caused by the Closed Loop

 Defendants and Arranger/Transporter Defendants at two (2) contiguous warehouses

 owned by Garrison and located at 1655 and 1675 Watkins Road, Columbus, Ohio 43207

 (together, the “Properties”). Plaintiff’s claims for relief arise under (i) the Declaratory

 Judgment Act, 28 U.S.C. §§ 2201-2202; (ii) the Comprehensive Environmental Response,

 Compensation, and Liability Act of 1980, as amended (“CERCLA”), 42 U.S.C. §§

 9601-9675; and (iii) principles of common law.

        2.      As more fully demonstrated below, the Closed Loop Defendants and

 Arranger/Transporter Defendants collaborated in an elaborate sham recycling scheme that

 extended across the country to profit from the stockpiling and subsequent abandonment of

 more than 64,000 tons (128 million pounds) of hazardous electronic waste (“e-waste”) at

 the Properties. They collected millions of dollars in illegal revenue over a four year period,

 leaving Garrison with the costs of removing and remediating nearly 10 acres of hazardous

 e-waste at the Properties, at a cost that will exceed $14.1 million.



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        3.      The Closed Loop Defendants launched the scheme by leasing the Properties

 from Garrison, claiming to be a bona fide recycler of cathode ray tubes, which are the glass

 vacuum tubes that constitute the video display component of televisions, computer

 monitors, and other electronic devices. They then charged artificially low prices to

 undercut the national e-waste recycling market and to accept as many CRT-containing

 electronic devices (“CRTs”) as possible, including from the Arranger/Transporter

 Defendants, to maximize profits. They cherry-picked what valuable commodities they

 could (such as wire, plastics, aluminum, and steel) from the inbound CRTs, then sold those

 commodities for additional profit. They cross-contaminated the remaining CRT glass by

 feeding both the leaded funnel glass and the panel glass together into a mechanical crusher,

 creating a worthless stream of commingled leaded and nonleaded glass. This ostensibly

 “processed” CRT glass was then stockpiled in the Properties indefinitely, without any

 feasible means to recycle it. Contrary to their assertions, the Closed Loop Defendants never

 had the capacity to install and operate a furnace to recycle this glass, nor did they ever have

 sufficient downstream markets willing to accept and recycle it.

        4.      The Arranger/Transporter Defendants aided and abetted the scheme by

 transporting and/or arranging for the transport of CRTs and other e-waste to the Properties,

 despite the fact that they knew or should have known that the Closed Loop Defendants

 were sham recyclers. The Arranger/Transporter Defendants had the sophistication and the

 experience in the e-waste industry to ascertain the true nature of the Closed Loop

 Defendants’ sham recycling operation, yet continued to deposit truckload after truckload of

 CRTs and other e-waste at the Properties to take advantage of the Closed Loop

 Defendants’ artificially low prices. The Arranger/Transporter Defendants fully recognized

 at the time the arrangements were made and/or at the time the CRTs and other e-waste were
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 accepted for transport that the Closed Loop Defendants lacked any feasible means to

 recycle them. They thus provided material support to the sham recycling scheme and

 should likewise be held accountable for the environmental contamination that resulted.

        5.       Through four years of misrepresentations, acts, and omissions, the Closed

 Loop Defendants misled Garrison and the Ohio Environmental Protection Agency (“Ohio

 EPA”) with respect to whether Defendant Closed Loop qualified for a limited regulatory

 exclusion from federal and state hazardous waste regulations that applies only to legitimate

 CRT recycling operations (“CRT conditional exclusion”). The Closed Loop Defendants

 pursued a series of delay tactics designed to mislead Garrison and the Ohio EPA into

 believing that recycling operations at the Properties qualified for the CRT conditional

 exclusion and that there was a feasible means of recycling the CRTs and other e-waste that

 had been accumulating. Throughout all or part of this four year period, the

 Arranger/Transporter Defendants knew or should have known that the Closed Loop

 Defendants could not have possibly met all of the elements of the CRT conditional

 exclusion given the extraordinary volume of e-waste at issue and the Closed Loop

 Defendants’ inability to demonstrate that there was any feasible means of recycling all of

 it. The Arranger/Transporter Defendants accordingly knew or should have known that the

 CRTs and other e-waste they were shipping included hazardous waste that was being sent

 for disposal. Nevertheless, scores of shippers, including the Arranger/Transporter

 Defendants herein, arranged for the transport of these materials to the Properties as if they

 were being sent for recycling, benefitting from the scheme through willful blindness or

 outright conspiracy, in an effort to profit off the Closed Loop Defendants’ price point – an

 offer that no legitimate CRT recycler could possibly beat.



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        6.      Soon after the Ohio EPA discovered the scheme, the Closed Loop

 Defendants abandoned the Properties, leaving behind towers of whole CRTs and

 “processed” CRT glass that had been packed into the warehouses 15-20 feet high.

 Significant portions of the Properties remain inaccessible given the manner in which the

 Closed Loop Defendants blocked aisles to make room for more inbound shipments from

 the Arranger/Transporter Defendants. CRT disassembly lines were halted mid-stream as

 part of their rushed exit. Employee overalls, boots, and gloves contaminated with

 hazardous leaded dust were left in piles on the floor. Office furniture and file cabinets were

 abandoned as well, although the Closed Loop Defendants took the time to remove nearly

 all of the business records from the Properties, except for those contained in a single file

 drawer, which was jammed shut.

        7.      The Court of Common Pleas in Franklin County, Ohio (“Franklin County

 Court”) recently conducted a bench trial in connection with related state litigation filed by

 Garrison against the Closed Loop Defendants arising out of the lease agreements for the

 Properties. On or about August 7, 2017, the Court found for Garrison, ruling that:

        “. . . Closed Loop was not engaged in legitimate CRT recycling operations at the
        Properties, but was instead engaged in the speculative accumulation and
        subsequent abandonment and disposal of the CRT Waste at the Properties without
        any feasible means of recycling it. The testimony established that [the Closed Loop
        Defendants] also failed to segregate leaded funnel glass from panel glass during its
        CRT recycling operation, resulting in the abandonment of over 113 million pounds
        of crushed, commingled leaded and unleaded glass at the Properties in addition to
        approximately 15 million pounds of other electronic waste. . . . [A] legitimate CRT
        recycling operation at the Properties would not have commingled the CRT glass
        because the cross-contamination of leaded and unleaded glass would have rendered
        any available downstream recycling option unprofitable, i.e., no legitimate market
        existed for this commingled glass as a feedstock for lead smelters or otherwise.”

 Garrison, however, has been unable to recover the judgment from the Closed Loop

 Defendants through the Franklin County litigation and discussions leading up to it.

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        8.      Garrison now brings this action to require the Closed Loop Defendants and

 Arranger/Transporter Defendants to clean up and/or pay for the cleanup of more than

 64,000 tons (128 million pounds) of e-waste that currently remains at the Properties.

                                         PARTIES

        9.      Plaintiff is a limited liability corporation duly organized and existing under

 the laws of the State of Delaware, with its principal office and place of business in New

 York, New York. Plaintiff owns the Properties.

        10.     Upon information and belief, Defendant Closed Loop is a corporation duly

 organized under the laws of the state of Arizona, with a principal place of business in

 Phoenix, Arizona. Starting in 2012 and extending into 2016, Defendant Closed Loop was a

 tenant occupying the Properties.

        11.     Upon information and belief, Defendant Brent Benham is an individual

 with a principal place of residence in Scottsdale, Arizona. Defendant Benham serves, and

 at all times relevant to the allegations herein, served as the President and Chief Financial

 Officer of Defendant Closed Loop.

        12.     Upon information and belief, Defendant David Cauchi is an individual with

 a principal place of residence in Gilbert, Arizona. Defendant Cauchi serves, and at all times

 relevant to the allegations herein, served as the Chief Executive Officer of Defendant

 Closed Loop.

        13.     Upon information and belief, Defendant Brian LaPoint is an individual with

 a principal place of residence in Chandler, Arizona. Defendant LaPoint serves, and at all

 times relevant to the allegations herein, served as the Chief Technology Officer of

 Defendant Closed Loop.

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        14.     Upon information and belief, Defendant UNICOR is a wholly-owned

 government corporation pursuant to 31 U.S.C. § 9101(3)(E), with a principal place of

 business in Washington, DC. Pursuant to 42 U.S.C. § 9620(a)(1), the federal government

 waived sovereign immunity for purposes of cases arising under 42 U.S.C. § 9607. Starting

 in 2012 and extending into 2015, Defendant UNICOR arranged for the transport of over

 4.5 million pounds of CRTs and other e-waste to the Properties.

        15.     Upon information and belief, Defendant Kuusakoski Inc. is a corporation

 organized under the laws of the state of Delaware, with a principal place of business in

 Philadelphia, Pennsylvania. Starting in 2012 and extending into 2016, Defendant

 Kuusakoski Inc. and/or one or more of its related entities, Defendants Kuusakoski

 Recycling, Kuusakoski US LLC, and Vintage Tech, arranged for the transport of over 48.6

 million pounds of CRTs and other e-waste to the Properties, representing more than 35% of

 the total amount of e-waste abandoned by the Closed Loop Defendants at the Properties.

 Defendants Kuusakoski Inc., Kuusakoski Recycling, and/or one of their related entities

 acquired Defendant Vintage Tech in 2014.

        16.     Upon information and belief, Defendant Kuusakoski Recycling is a limited

 liability company organized under the laws of the state of Illinois, with a principal place of

 business in Plainfield, Illinois. Starting in 2012 and extending into 2016, Defendant

 Kuusakoski Recycling and/or one or more of its related entities, Defendants Kuusakoski

 Inc., Kuusakoski US LLC, and Vintage Tech, arranged for the transport of over 48.6

 million pounds of CRTs and other e-waste to the Properties, representing more than 35% of

 the total amount of e-waste abandoned by the Closed Loop Defendants at the Properties.

 Defendants Kuusakoski Recycling, Kuusakoski Inc., and/or one of their related entities

 acquired Defendant Vintage Tech in 2014.
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        17.     Upon information and belief, Defendant Kuusakoski US LLC is a limited

 liability company organized under the laws of the state of Delaware, with a principal place

 of business in Plainfield, Illinois. Starting in 2012 and extending into 2016, Defendant

 Kuusakoski US LLC and/or one or more of its related entities, Defendants Kuusakoski

 Inc., Kuusakoski Recycling, and Vintage Tech, arranged for the transport of over 48.6

 million pounds of CRTs and other e-waste to the Properties, representing more than 35% of

 the total amount of e-waste abandoned by the Closed Loop Defendants at the Properties.

 VTKK LLC had previously operated as a joint venture between Defendant Vintage Tech

 and Defendant Kuusakoski US LLC and/or one or more related entities and before it was

 merged into Defendant Kuusakoski US LLC in 2015.

        18.     Upon information and belief, Defendant Vintage Tech is a limited liability

 company organized under the laws of the state of Illinois, with a principal place of business

 in Plainfield, Illinois. Starting in 2012 and extending into 2016, Defendant Vintage Tech

 arranged for the transport of over 39.7 million pounds of CRTs and other e-waste to the

 Properties. Defendant Vintage Tech was acquired by Defendants Kuusakoski Recycling,

 Kuusakoski Inc., and/or one of their related entities in 2014, but continues to conduct

 business as a separate subsidiary or operating unit.

                              JURISDICTION AND VENUE

        19.     This Court has original jurisdiction over this civil action pursuant to 42

 U.S.C. § 9613(b), 18 U.S.C. § 1965, and 28 U.S.C. § 2201.

        20.     This Court has supplemental jurisdiction over Garrison’s state law claims

 pursuant to 28 U.S.C. § 1367, because the state law claims are so related to Garrison’s

 federal claims that they form a part of the same case or controversy.



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         21.     Venue is proper under 42 U.S.C. § 9613(b), 18 U.S.C. § 1965(a), and 28

 U.S.C. § 1391(b), because a substantial part of the events or omissions giving rise to this

 lawsuit occurred within this District, including the damages and the release and/or

 threatened release of hazardous substances, and because the Properties that are the subject

 of this action are located in this District.

                                  STATEMENT OF FACTS

         A.      The Properties: Ownership and Operational History

                 1.       The 1675 Watkins Road Property

         22.     On or about April 6, 2012, Garrison’s predecessor-in-interest, MS-South

 LLC, as Landlord, entered into a Lease Agreement with Defendant Closed Loop, as

 Tenant, to lease the warehouse premises located at 1675 Watkins Road, Columbus, Ohio

 43207 (“1675 Watkins Road”).

         a.      The Lease Agreement leased the premises to Defendant Closed Loop and

                 listed    “[w]arehousing,      distribution,   electronic   recycling   and

                 de-manufacturing of cathode ray tubes” as the “Permitted Use.”

         b.      Upon information and belief, Landlord tendered possession of the premises

                 to Defendant Closed Loop in broom-clean condition.

         c.      The Lease Agreement required Defendant Closed Loop:

                 (i)      to comply with federal and state hazardous waste laws;

                 (ii)     to make monthly base rent payments starting at $59,131.57 per

                          month and increasing to $64,924.05 per month;

                 (iii)    to make accelerated rent payments through March 31, 2020, if in

                          default and so demanded by landlord;



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                 (iv)    to make late fee payments for any payment received more than ten

                         (10) days after the due date thereof;

                 (v)     to pay for utilities and services; and

                 (vi)    to surrender 1675 Watkins Road “broom clean in as good condition

                         as when received by Tenant.”

         d.      The Lease Agreement also provided Defendant Closed Loop with an option

                 to lease approximately 100,000 square feet at the contiguous premises

                 located at 1655 Watkins Road, Columbus, Ohio 43207.

         23.     On or about April 15, 2014, following a rent payment default by Defendant

  Closed Loop, Garrison entered into a First Amendment of Lease with Defendant Closed

  Loop for 1675 Watkins Road.

         a.       The purpose of the First Amendment of Lease was to allow Defendant

                  Closed Loop to restructure its payment schedule following Defendant

                  Closed Loop’s failure to pay rent in exchange for the execution and

                  delivery of guaranties by Defendants Benham, Cauchi, and LaPoint.

         b.       The guaranties provided that Defendants Benham, Cauchi, and LaPoint

                  “absolutely, irrevocably and unconditionally” guaranteed to Garrison all of

                  Defendant Closed Loop’s obligations under the Lease Agreement.

         24.     Garrison terminated the Lease Agreement on or about February 26, 2016,

  after Defendant Closed Loop once again failed to pay rent, declaring that all installments of

  rent for the remainder of the term of the Lease Agreement were immediately payable and

  due, pursuant to Section 19(b)(i) of the Lease Agreement.

         25.     On or about March 4, 2016, Garrison filed a Complaint for Eviction

  (Forcible Entry and Detainer), Injunction, and Damages Under Lease Agreement and for
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  Damages Under Guaranties of Lease against Defendant Closed Loop in the Franklin

  County Court.

         26.      On or about March 7, 2017, the Franklin County Court granted Garrison’s

  Motion for Default Judgment as to Defendant Closed Loop’s liability for breach of contract

  and resulting damages, leaving the question of damages to be determined later.

         27.      On or about May 8, 2017, the Franklin County Court held a hearing during

  which Garrison presented testimony and evidence establishing the damages incurred as a

  result of Defendant Closed Loop’s breach of the Lease Agreement.

         28.      On or about August 2, 2017, the Franklin County Court held a second

  hearing during which Garrison presented testimony and evidence establishing the damages

  incurred as a result of the breach of the Lease Agreement by Defendants Benham, Cauchi,

  and LaPoint.

         29.      On or about August 7, 2017, the Franklin County Court issued a Final

  Judgment Entry, in which the Court, among other things:

         a.       found that “[Defendant] Closed Loop was not engaged in legitimate CRT

                  recycling operations at the Properties”;

         b.       found that Defendant Closed Loop “was instead engaged in the speculative

                  accumulation and subsequent abandonment and disposal of the CRT Waste

                  at the Properties without any feasible means of recycling it”;

         c.       found that Defendant Closed Loop “failed to segregate leaded funnel glass

                  from panel glass during its CRT recycling operation,” which “rendered any

                  available downstream recycling option unprofitable, i.e. no legitimate

                  market existed for this commingled glass as a feedstock for lead smelters or

                  otherwise”; and
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         d.    ordered, adjudged, and decreed that “[j]udgment is entered in favor of

               Garrison and against [Defendants] Closed Loop, Brent Benham, David

               Cauchi, and Brian LaPoint, jointly and severally, in the amount of

               $14,181,533.74 for costs to clean-up the CRT Waste” at the Properties.

               2.      The 1655 Watkins Road Property

         30.   On or about March 24, 2014, Garrison, as Licensor, entered into a

  Temporary Occupancy Agreement with Defendant Closed Loop, as Licensee, retroactive

  to December 1, 2013, for the occupancy and use additional square footage in the

  contiguous premises located at 1655 Watkins Road, Columbus, Ohio 43207 (“1655

  Watkins Road”).

         a.    The Temporary Occupancy Agreement provided Defendant Closed Loop

               with a license to occupy a portion of the property “solely for warehousing

               and storage purposes,” which could include the storage of “commercially

               reasonable” quantities of hazardous materials.

         b.    The purpose of the Temporary Occupancy Agreement was to provide a

               staging area for Defendant Closed Loop to store inbound CRTs at 1655

               Watkins Road for the downstream processing operations at 1675 Watkins

               Road.

         c.    Garrison tendered possession of the premises to Defendant Closed Loop in

               good condition and repair and free of trash and debris.

         d.    The Temporary Occupancy Agreement required Defendant Closed Loop:

               (i)     to comply with federal and state hazardous waste laws;

               (ii)    to pay Garrison a monthly use and occupancy fee of $10,518.67;

               (iii)   to pay its pro rata share of utility costs; and
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                 (iv)   to surrender the premises “in good condition and repair, ordinary

                        wear and tear accepted, and free of trash and debris.”

           31.   Starting in or around January 2015, Defendant Closed Loop failed to pay

  use and occupancy fees and utility costs in accordance with the Temporary Occupancy

  Agreement.

           32.   Garrison terminated the Temporary Occupancy Agreement as of

  June 12, 2015, for failure to pay use and occupancy fees.

           33.   On or about August 3, 2015, Garrison filed a Complaint for Eviction

  (Forcible Entry and Detainer, Inunction, and Damages) against Defendant Closed Loop in

  the Common Pleas Court of Franklin County, Ohio, Civil Division (“Franklin County

  Court”).

           34.   On or about August 24, 2015, Defendant Closed Loop and Garrison entered

  into an Agreed Order requiring Defendant Closed Loop to “remove all personal property,

  debris, and trash . . . at its cost” from 1655 Watkins Road by October 31, 2015.

           35.   Defendant Closed Loop failed to comply with the August 24, 2015 Agreed

  Order.

           36.   On or about May 24, 2016, the Franklin County Court granted Garrison’s

  Motion for Default Judgment as Defendant Closed Loop’s liability for breach of contract

  and resulting damages, leaving the question of damages to be determined later.

           37.   On or about May 8, 2017, the Franklin County Court held a hearing during

  which Garrison presented testimony and evidence establishing the damages incurred as a

  result of Defendant Closed Loop’s breach of the Temporary Occupancy Agreement.

           38.   On or about August 7, 2017, the Franklin County Court issued a Final

  Judgment Entry, in which the Court, among other things:
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          a.     found that “[Defendant] Closed Loop was not engaged in legitimate CRT

                 recycling operations at the Properties”;

          b.     found that Defendant Closed Loop “was instead engaged in the speculative

                 accumulation and subsequent abandonment and disposal of the CRT Waste

                 at the Properties without any feasible means of recycling it”;

          c.     found that Defendant Closed Loop “failed to segregate leaded funnel glass

                 from panel glass during its CRT recycling operation,” which “rendered any

                 available downstream recycling option unprofitable, i.e. no legitimate

                 market existed for this commingled glass as a feedstock for lead smelters or

                 otherwise”; and

          d.     ordered, adjudged, and decreed that “[j]udgment is entered in favor of

                 Garrison and against [Defendants] Closed Loop, Brent Benham, David

                 Cauchi, and Brian LaPoint, jointly and severally, in the amount of

                 $14,181,533.74 for costs to clean-up the CRT Waste” at the Properties.

                 3.     Closed Loop’s Abandonment of the Properties

          39.    The Closed Loop Defendants vacated the Properties in or around May

  2016.

          40.    The Closed Loop Defendants abandoned more than 64,000 tons (128

  million pounds) of CRTs and other e-waste upon vacating the Properties.

          41.    CRTs contain lead, a toxic substance that can cause delayed neurological

  development in children and other adverse health effects in adults.

          42.    Used, broken CRTs and processed CRT glass containing lead at

  concentrations equal to or greater than 5.0 mg/L using the Toxicity Characteristic Leaching

  Procedure (“TCLP”), if not managed under the CRT conditional regulatory exclusion, are
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  regulated as a hazardous waste under the Resource Conservation and Recovery Act

  (“RCRA”) and as a hazardous substance under CERCLA.

         43.     Used, intact CRTs containing lead at concentrations equal to or greater than

  5.0 mg/L using TCLP that are accumulated speculatively are regulated as a hazardous

  waste under RCRA and as a hazardous substance under CERCLA.

         44.     The U.S. Environmental Protection Agency (“U.S. EPA”) has observed that

  “according to recent studies performed at the University of Florida, most color CRTs leach

  lead in the TCLP test at concentrations above the TC regulatory level of 5 milligrams per

  liter.” Hazardous Waste Management System; Modification of the Hazardous Waste

  Program; Cathode Ray Tubes; Final Rule, 71 Fed. Reg. 42,928, 42,930 (July 28, 2006).

         45.     Total lead content from samples collected from the Properties far exceeded

  the 5.0 mg/L regulatory limits using TCLP.

         46.     Garrison currently estimates the costs of environmental cleanup for the

  Properties at more than $14.1 million, although cleanup costs may vary significantly based

  on, among other things, material quantities, the availability of previously-identified

  disposal/recycling outlets, fuel costs, the extent of Ohio EPA’s oversight over remediation

  of the site, and other contingencies.

         B.      The Sham Recycling Scheme

         47.     Section 107(a) of CERCLA, 42 U.S.C. § 9601(a), imposes strict and joint

  and several retroactive liability on:

         a.      “the owner and operator of a vessel or a facility”;

         b.      “any person who at the time of disposal of any hazardous substance owned
                 or operated any facility at which such hazardous substances were disposed
                 of”;



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         c.      “any person who by contract, agreement, or otherwise arranged for disposal
                 or treatment, or arranged with a transporter for transport for disposal or
                 treatment, of hazardous substances owned or possessed by such person, by
                 any other party or entity, at any facility or incineration vessel owned or
                 operated by another party or entity and containing such hazardous
                 substances, and”;

         d.      “any person who accepts or accepted any hazardous             substances for
                 transport to disposal or treatment facilities, incineration   vessels or sites
                 selected by such person, from which there is a release,       or a threatened
                 release which causes the incurrence of response costs,        of a hazardous
                 substance . . . .”

         48.     The Closed Loop Defendants operated the Properties at the time of the

  disposal of hazardous substances; therefore, they are strictly, jointly and severally liable

  for environmental cleanup costs under CERCLA.

         49.     The Arranger/Transporter Defendants transported and/or arranged for the

  transport of hazardous substances to the Properties; therefore, they are strictly, jointly and

  severally liable for environmental cleanup costs under CERCLA.

         50.     RCRA established a cradle-to-grave program that regulates the generation,

  transportation, and disposal of hazardous wastes and provides for a conditional exclusion

  for legitimate CRT recycling operations – but only if certain criteria are met.

         51.     The Closed Loop Defendants misled Garrison and Ohio EPA with respect

  to whether the Closed Loop Defendants’ qualified for the CRT conditional exclusion from

  RCRA hazardous waste regulation, which applies only to legitimate CRT recycling

  operations, thereby generating millions of dollars in illegal revenue and imposing upon

  Garrison potential liability for millions of dollars in environmental cleanup costs.

         52.     The Arranger/Transporter Defendants transported and/or arranged for the

  transport of tens of millions of pounds of CRTs and other e-waste to the Properties, despite

  the fact that they knew or should have known that the Closed Loop Defendants were

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  operating a sham recycling operation and did not qualify for the CRT conditional exclusion

  from RCRA hazardous waste regulation, thereby generating millions of dollars in illegal

  revenue and imposing upon Garrison potential liability for millions of dollars in

  environmental cleanup costs.

                 1.      The Closed Loop Defendants

         53.     From 2012 and continuing to the present, the Closed Loop Defendants

  orchestrated an extensive scheme to defraud Garrison through the sham recycling

  operation at the Properties.

         54.     The Closed Loop Defendants selected Ohio as the state to launch its scheme

  given that Ohio lacks e-waste legislation requiring original equipment manufacturers to

  certify that CRTs are recycled in accordance with federal and state law and that Ohio does

  not have a CRT landfill disposal ban.

         55.     Surrounding and nearby states Michigan, Illinois, Indiana, West Virginia,

  Pennsylvania, New Jersey, New York, and Virginia among others, each have e-waste

  legislation and CRT landfill disposal bans, which incentivizes the e-waste industry to

  arrange for e-waste to be transported to Ohio in a nationwide “race to the bottom.”

         56.     The Closed Loop Defendants also selected Ohio in purview of a tax credit

  provided in 2012 by the Ohio Tax Credit Authority to bring jobs to Columbus.

         57.     Defendant Closed Loop secured the Lease Agreement and Temporary

  Occupancy Agreement from Garrison, based on false representations that Defendant

  Closed Loop would actually pay the rent; would be providing legitimate e-waste recycling

  services; and would otherwise be operating in compliance with federal and state hazardous

  waste laws.



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         58.     The Closed Loop Defendants entered the Ohio e-waste recycling market in

  2012, with an offer to accept inbound CRTs at prices as low as $0.0750 per pound, which

  undercut the then-prevailing U.S. market rates of $0.11-0.12 per pound.

         59.     No other U.S. e-waste recycler could compete with Defendant Closed

  Loop’s rate, as no e-waste recycler with a similar business model and low profit margin

  could have met all of the elements of, and thus, qualified for, the CRT conditional

  exclusion from RCRA hazardous waste regulation.

         60.     Over the next four years, the Closed Loop Defendants implemented a series

  of delay tactics designed to mislead Garrison and the Ohio EPA into believing that

  recycling operations at the Properties were lawful and that there was a feasible means of

  recycling the CRTs and other e-waste that had been accumulating at the Properties.

         61.     These delay tactics enabled the Closed Loop Defendants to continue to

  collect revenue for inbound CRTs and other e-waste, without ever having to incur the costs

  of actually recycling them.

         62.     During this four year period, the Closed Loop Defendants speculatively

  accumulated tens of millions of pounds of CRTs and other e-waste, generating well over

  $20 million in revenue for recycling services that were never performed.

         a.      The Closed Loop Defendants received more than $11 million in revenue

                 from inbound shipments of used CRTs and other e-waste from 2012

                 through 2016, based on records produced by the Closed Loop Defendants.

         b.      The Closed Loop Defendants likely received an equivalent revenue stream

                 from outbound shipments of commodities extracted from these CRTs,

                 including yokes, copper wire, aluminum, steel, plastic, and circuit boards,



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                 based on the revenue streams of similarly situated entities in the e-waste

                 industry.

         c.      The Closed Loop Defendants had minimal overhead expenses given their

                 failure to pay rent, lower labor costs associated with their failure to

                 segregate leaded funnel glass from panel glass, and their failure to meet

                 applicable Ohio EPA and Occupational Safety and Health Administration

                 (“OSHA”) regulatory requirements.

         63.     The Closed Loop Defendants were able to continue to accept inbound

  shipments of used CRTs and other e-waste (and the accompanying revenue streams) for

  four years, based on a series of misrepresentations, acts and omissions designed to mislead

  Garrison and Ohio EPA with respect to Defendant Closed Loop’s compliance with the

  following three elements, discussed in turn below, of the CRT conditional exclusion from

  RCRA hazardous waste regulation: (a) the 75% recycling requirement; (b) the existence of

  a feasible means to recycle the CRTs; and (c) a prohibition against using the CRTs in a

  manner constituting disposal.

         64.     In or around May 2016, when its scheme was discovered, the Closed Loop

  Defendants abandoned the Properties, leaving Garrison, as the landlord, to incur more than

  $14.1 million in environmental cleanup costs.

                        a.        75% Recycling Requirement

         65.     The qualifying criteria for the CRT conditional exclusion includes, inter

  alia, a prohibition on “speculative accumulation,” which is comprised of two components.

  40 C.F.R. § 261.39(a)(4) & (c).

         66.     The first component of the CRT conditional exclusion requires a

  demonstration that: “during the calendar year, commencing January first, the amount of
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  material that is recycled, or transferred to a different site for recycling, equals at least

  seventy-five per cent by weight or volume of the amount of that material accumulated at

  the beginning of the calendar year.”

         67.        From   2012    through   2016,    Defendant      Closed   Loop    repeatedly

  misrepresented that it qualified for the CRT conditional exclusion through statements to

  Ohio EPA that the weight of the processed CRT glass that was recycled at the Properties,

  or was transferred to a different site for recycling, equaled at least 75% of the weight of the

  processed CRT glass that had accumulated at the beginning of each calendar year.

         68.        The Closed Loop Defendants’ business model was to process inbound

  CRTs through disassembly and glass breaking within the calendar year during which they

  were received, but then to store indefinitely the processed CRT glass in the center of 1675

  Watkins Road, where it would be obstructed from the view of Ohio EPA inspectors and in

  violation of 40 C.F.R. § 261.39(c) (regarding speculative accumulation).

         69.        Garrison currently estimates that there are nearly 30,000 Gaylords (i.e.,

  pallet-sized, cardboard containers) of processed CRT glass that were speculatively

  accumulated and abandoned at the Properties.

         70.        Garrison currently estimates that there are more than 14,500 Gaylords or

  wooden pallets of used, intact CRTs that were speculatively accumulated and abandoned at

  the Properties.

                                  (i)    BAN         Warns     the      Arranger/Transporter

                                         Defendants that Closed Loop Lacked a Clear

                                         Pathway to Compliance.

         71.        The Basel Action Network (“BAN”) is an environmental non-profit group

  that describes itself as an investigative watchdog for sham electronic waste recyclers.
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         72.     On or about January 22, 2013, Closed Loop Glass Solutions (“CLGS”), an

  affiliate or subsidiary of Defendant Closed Loop controlled by the Closed Loop

  Defendants, applied for an air quality permit-to-install a glass furnace to recycle processed

  CRT glass in connection with its operations at the Properties.

         73.     On or about September 26, 2013, BAN provided public comments in

  response to Defendant Closed Loop’s permit application in which it expressed concerns

  with the risk of speculative accumulation and sham recycling that would arise from

  Defendant Closed Loop’s conduct:

         “This is an important matter because an influx of cash comes into a business of this
         kind upon receipt of CRT glass and the actual subsequent processing of the CRTs is
         a very large subsequent expense. The economic temptation to avoid latter [sic]
         costs, in the face of large influxes of cash is real and thus holding to Speculative
         Accumulation rules is vital unless there is a clear pathway for meeting the
         processing goals, and avoiding accumulation is seen as a reality in the near-term.
         Already numerous CRT storage-for-later processing sites around the nation have
         been found abandoned with massive amounts of glass still on site due to this factor
         (see Luminous Recycling, Denver, Dow Management, Yuma).”

         74.     BAN’s public statements regarding the Defendant Closed Loop situation

  were widely disseminated and, upon information and belief, were known to participants in

  the industry, including the Arranger/Transporter Defendants.

         75.     The Arranger/Transporter Defendants had the requisite sophistication and

  experience in the e-waste industry such that they were aware or should have been aware of

  BAN’s public warning regarding the “economic temptation” for the Closed Loop

  Defendants to circumvent the speculative accumulation requirements in exchange for

  “large influxes of cash.”

         76.     For the next three years, the Arranger/Transporter Defendants nevertheless

  knowingly transported and/or arranged for the transport of tens of millions of pounds of

  CRTs and other e-waste to the Properties.
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                                  (ii)    Closed Loop Seeks to Protect Its Scheme When

                                          Ohio     EPA      Begins     to   Express     Concerns

                                          Regarding Speculative Activity.

          77.     In or around 2014, Ohio EPA began expressing concerns with Defendant

  Closed Loop’s ability to meet speculative accumulation requirements, which coincided

  with evasive actions by the Closed Loop Defendants to prevent their sham recycling

  scheme from being discovered.

          78.     On or about June 19, 2014, in assessing how to respond to a media inquiry

  regarding Defendant Closed Loop, Ohio EPA expressed concern in an internal e-mail

  regarding operations at the Properties that “we don’t really have a break down of how

  much material went where.”

          a.      Ohio EPA’s June 19, 2014 e-mail indicated that Defendant Closed Loop

                  provided insufficient information for Ohio EPA to determine compliance

                  with speculative accumulation requirements.

          b.      Upon information and belief, the Closed Loop Defendants were

                  withholding information regarding speculative accumulation from Ohio

                  EPA to conceal their sham recycling scheme.

          79.     On or about June 25, 2014, in discussing a request by Defendant Closed

  Loop for a variance from speculative accumulation requirements, Ohio EPA warned

  Defendant Closed Loop in a phone call of its potential to abandon large amounts of

  hazardous waste at the Properties in violation of the speculative accumulation provision.

          80.     On or about June 26, 2014, Ohio EPA observed in an internal e-mail that

  Defendant Closed Loop was “storing millions of pounds of CRTs and processed glass”;

  that it wants to “continue to store the lead glass as a feedstock . . .”; and that it “will likely
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  trigger our speculative accumulation rules and the hazardous CRT glass will be a regulated

  hazardous waste at that point.”

         81.     On or about October 21, 2014, a concerned citizen advised Ohio EPA in an

  e-mail that Defendant Closed Loop transported 200 truckloads of processed CRT glass

  from the Properties to a new property leased by Defendant Closed Loop or a Closed Loop

  affiliate located at 2200 Fairwood Avenue, Columbus, Ohio 43207 (“2200 Fairwood

  Avenue”), in an effort to mislead Ohio EPA into finding Defendant Closed Loop to be in

  compliance with speculative accumulation requirements.

         82.     On or about October 21, 2014, and in reaction to the concerned citizen’s

  report, Ohio EPA commented in an internal e-mail: “This will not get them out of

  speculative accumulation. We should be looking into this.”

         83.     On or about January 5, 2015, an internal Ohio EPA e-mail characterized

  these shipments as follows: “Seems a little convenient that the new facility is located where

  they were already rumored to be ‘hiding’ shipments of glass….”

         84.     On or about October 27, 2014, Defendant Closed Loop applied for a

  variance from the speculative accumulation requirements based on the “limitations of the

  primary and secondary lead smelters[ʼ] ability to absorb the volume generated within the

  USA,” which led to the “current stock pile of clean panel cullet and funnel cullet in North

  America.”

         85.     The only reason Defendant Closed Loop would have applied for the

  variance was because it could not comply with the speculative accumulation requirements.

         86.     Defendant Closed Loop never received the variance.

         87.     The Closed Loop Defendants nevertheless continued to accept inbound

  CRTs and other e-waste at the Properties for the next 15-17 months, despite these market
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  conditions and despite knowing that Defendant Closed Loop would be out of compliance

  with speculative accumulation requirements without a variance.

         88.     On or about November 21, 2014, Ohio EPA observed in an internal e-mail

  that Defendant Closed Loop had not “completely recycled the glass onsite nor have they

  sent any glass to another site for further recycling.” Put differently, much of the processed

  CRT glass stored at the Properties since operations began in 2012 had already triggered

  speculative accumulation rules given Defendant Closed Loop’s failure to recycle, or to

  transfer offsite for recycling, 75% of the previously processed CRT glass in inventory as of

  January 1, 2013, by December 31, 2013.

         89.     From on or about December 22, 2014 through on or about

  December 26, 2014, the Closed Loop Defendants arranged for the transport of an

  additional 59 truckloads of processed CRT glass from the Properties to 2200 Fairwood

  Avenue in yet another misguided effort to shield itself from liability for failing to meet

  speculative accumulation requirements, as evidenced by 59 bills of lading reflecting

  shipments from 1675 Watkins Road to 2200 Fairwood Avenue.

         90.     On or about March 5, 2015, Ohio EPA conducted an inspection of 1675

  Watkins Road, during which Ohio EPA discovered for the first time that Defendant Closed

  Loop had also been accumulating CRTs in 1655 Watkins Road since October or November

  of 2013. According to the Ohio EPA inspector:

         “At that time Mr. O’hara informed me that Closed Loop had been leasing and
         storing CRTs (unknown to Ohio EPA) at 1655 Watkins Rd since Oct.-Nov. of
         2013. Upon arrival I met with the plant manager (Patrick O’hara) who proceeded to
         walk me over to the 1655 Watkins Rd. storage facility. The facility is half full of
         CRTs and old televisions, Patrick said that it is currently being downsized due to
         costs and three bays of CRTs were recently moved to Fairwood Avenue. I asked
         how this was being tracked and Patrick informed me that it wasn’t.”



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          91.    Ohio EPA’s inspection revealed that Defendant Closed Loop had not only

  hidden a staging area for its e-waste recycling operations from Ohio EPA in violation of

  federal and state hazardous waste law, but also that Defendant Closed Loop had not been

  reporting internal movements of CRTs in a further effort to mislead Ohio EPA.

                                 (iii)   Closed Loop Acknowledges Concerns with

                                         Speculative Accumulation, Yet Continues to

                                         Accept Inbound CRTs for Profit.

          92.    On or about November 6, 2014, E-Scrap News reported that Defendant

  Benham admitted that “Closed Loop has been amassing leaded glass instead of sending it

  downstream for recycling elsewhere because the company is trying to collect sufficient

  feedstock for its furnace.” See E-Scrap News, CRT player Closed Loop receives notice of

  violation (Nov. 6, 2014).

          93.    On or about December 9, 2014, Defendant Closed Loop acknowledged to

  Ohio EPA in a letter that it “did not give greater attention to speculative accumulation prior

  to October 2014,” effectively admitting that it failed to comply the speculative

  accumulation requirement in the CRT conditional exclusion – the very exclusion upon

  which Defendant Closed Loop’s entire e-waste recycling business model was predicated.

          94.    On or about October 14, 2015, Garrison e-mailed Defendant Benham to

  follow up on Ohio EPA’s concerns with speculative accumulation at the Properties: “As I

  understand it, you are still being paid to take CRTs into 1675 on a daily/weekly basis and

  with that new inventory comes components that are accumulating for disposal that are a

  liability.”

          95.    On or about October 20, 2015, Defendant Benham responded to Garrison’s

  e-mail by explaining that any “product liability” would not be a cause for concern because
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  Defendant Closed Loop has “room under the insurance . . . to allow for more material on

  the site.”

          96.    Defendant Benham attached a “Site Closure Plan” to his October 20, 2015

  e-mail, purportedly to “give [Garrison] an understanding of cleanup” to be covered by the

  insurance.

          a.     The Site Closure Plan indicated that the maximum inventory of material

                 expected at the Properties would be 45,000 tons.

          b.     That estimate was false, however, because it is currently estimated that the

                 Closed Loop Defendants ultimately accumulated and abandoned 64,000

                 tons (128 million pounds) of CRTs and other e-waste.

          97.    On or about October 23, 2015, Defendant Closed Loop admitted to Ohio

  EPA in a phone call that it was “unsure of what they can or cannot do with the material next

  year to meet the [speculative accumulation] standard.”

          98.    The Closed Loop Defendants nevertheless continued to accept inbound

  CRTs and other e-waste until in or about March 2016, in a self-serving effort to continue

  profiting from its scheme.

          99.    On or about March 17, 2016, Defendant Closed Loop admitted to Garrison

  in an e-mail that it has “liability [for] the CRTs and leaded glass that has accumulated on

  the property over the last 4 years through the operations of CLRR’s facility.”

                        b.      Feasible Means of Being Recycled

          100.   As noted above, the qualifying criteria for the CRT conditional exclusion

  includes, inter alia, a prohibition on “speculative accumulation,” which includes two

  components. 40 C.F.R. § 261.39(a)(4) & (c). The second component of the CRT



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  conditional exclusion requires a demonstration that “the material is potentially recyclable

  and has a feasible means of being recycled.”

         101.    From    2012   through     2016,   Defendant   Closed    Loop    repeatedly

  misrepresented to Ohio EPA that it qualified for the CRT conditional exclusion through

  statements to Ohio EPA that it would fund, install, and operate a glass furnace to extract

  lead from the processed CRT glass accumulating at the Properties.

         102.    The Closed Loop Defendants’ business model was to pursue air quality

  permits-to-install from Ohio EPA in an effort to mislead Ohio EPA into finding that a

  “feasible means of being recycled” existed, so that it could continue to accept inbound

  CRTs and other e-waste while never having any intention of actually constructing a

  furnace.

                                (i)    1635 Watkins Road

         103.    Defendant Closed Loop first applied for and received an “initial

  installation” air quality permit-to-install a glass furnace at 1635 Watkins Road, Columbus,

  Ohio 43207 (“1635 Watkins Road”), which issued October 17, 2013 (and was

  administratively-modified November 15, 2013).

         104.    Defendant Closed Loop never had any property rights with respect to 1635

  Watkins Road. Garrison owns 1635 Watkins Road and never extended a lease option to

  Defendant Closed Loop at this property.

         105.    The U.S. EPA has taken the position that demonstration of a feasible means

  of recycling “ordinarily will require identification of actual recyclers and recycling

  technology, location of the recycler, and relative costs associated with recycling.”

  (Emphasis added.)



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         106.     Thus, as Defendant Closed Loop lacked the right to occupy 1635 Watkins

  Road, it could not use the 1635 Watkins Road permit-to-install to demonstrate that it had a

  feasible means of recycling the CRTs accumulating in 1655 Watkins Road and 1675

  Watkins Road.

         107.     On or about December 9, 2014, Defendant Closed Loop represented to

  Ohio EPA in a letter that CLGS “has obtained 100,000 square foot facility at 1635 Watkins

  Road in Columbus, Ohio” and that construction of the glass furnace at 1635 Watkins Road

  would begin in the summer of 2015, with an estimated operational date of November 2015.

         108.     Defendant Closed Loop’s representation was false and misleading because

  it never had the right to occupy 1635 Watkins Road.

         109.     On or about December 16, 2014, Ohio EPA conducted an inspection of

  1635 Watkins Road to “monitor the progress of the build-out for operations of CLGS,”

  where Defendant Closed Loop would “eventually install a furnace.”

         a.       The scope of the inspection included a schedule that had been submitted “as

                  part of the demonstration that CLGS feasibly recycle the processed CRT

                  glass currently being accumulated” at the Properties.

         b.       Ohio EPA found that “no work had commenced on the vacant half of the

                  warehouse where CLGS is supposed to conduct operations.”

         c.       Ohio EPA found that discussions with the existing tenant “indicated they

                  had no information that CLGS had obtained a lease agreement.”

         d.       In a follow up call, Robert Cruz, the Defendant Closed Loop plant manager,

                  again falsely advised Ohio EPA that a “lease had been obtained.”

         110.     On or about January 5, 2015, Defendant Closed Loop finally admitted in a

  letter to Ohio EPA that it was “unable to exercise the lease option” at 1635 Watkins Road.
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          111.    The terms of the 1635 Watkins Road permit-to-install provided that the

  permit would automatically terminate within 18 months of the effective date if the

  “operator has not undertaken a continuing program of installation or has not entered into a

  binding contractual obligation to undertake and complete within a reasonable time a

  continuing program of installation.”

          112.    Defendant Closed Loop did not undertake a continuing program of

  installation, nor did it enter into a binding contractual obligation to build the furnace,

  indicating further that it had no intention of actually constructing a furnace at 1635

  Watkins Road.

          113.    On or about March 6, 2015, Defendant Closed Loop nevertheless applied

  for an extension of the 1635 Watkins Road permit-to-install, three months after admitting

  that it lacked a lease option, because “we are now negotiating with our landlord at 1635

  Watkins Road as it is time to renew our lease soon.”

          a.      The referenced lease, however, is the Lease Agreement for 1675 Watkins

                  Road.

          b.      There was never an agreement with Garrison to lease 1635 Watkins Road.

          c.      Further, any discussions with Garrison regarding a lease option at 1635

                  Watkins Road had long since terminated.

          114.    On or about April 28, 2015, Defendant Closed Loop entered into a Consent

  Order with the Arizona Department of Environmental Quality (“ADEQ”) for speculative

  accumulation at Defendant Closed Loop’s Arizona facility that was predicated on

  shipments of processed CRT glass from that facility to a glass furnace at 1635 Watkins

  Road.



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         a.      Defendant Closed Loop executed this agreement four months after advising

                 Ohio EPA that it did not have a lease option at 1635 Watkins Road.

         b.      Defendants Benham, Cauchi, and LaPoint each signed the Consent Order,

                 thereby making false statements to a state environmental agency as part of

                 an e-waste recycling scheme that extended across the county.

         115.     For all of the reasons set forth above, Defendant Closed Loop secured the

  1635 Watkins Road permit-to-install solely as part of a continuing effort to mislead

  Garrison and Ohio EPA into finding that there was a feasible means of recycling, when in

  fact no feasible means of recycling had been put into place.

                                (ii)    1659 E. Front Street

         116.    Defendant Closed Loop applied for and received a second “initial

  installation” air quality permit-to-install for 1659 E. Front Street, Logan, Ohio 43138

  (“1659 E. Front Street”), which issued December 23, 2015.

         117.    The “planned” furnace at 1659 E. Front Street would not have had sufficient

  recycling capacity to avoid speculative accumulation prohibitions.

         118.    The permit had an 18,000 ton-per-year (“tpy”) limit, similar to its

  predecessor permit-to-install at 1635 Watkins Road.

         119.    Even under the best case scenario – which would account for obtaining

  funding to construct the furnace, one year of construction, no additional inbound CRTs,

  and a Clean Air Act Title V permit-to-operate – there would be over four more years of

  speculative accumulation, as it would take approximately 3.5 years to process the 64,000

  tons (128 million pounds) of e-waste that are currently stored at the Properties.




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          120.    BAN had long before warned of the prospects of a small furnace in public

  comments provided in response to a draft of Defendant Closed Loop’s first “initial

  installation” air quality permit-to-install:

          “We are very concerned that a small furnace with slow throughput is being
          envisaged, which may provide appearances to observers that an effort is being
          made to avoid speculative accumulation and perhaps raise false hopes such that that
          [sic] variances to the speculative accumulation rules will be granted, when in fact
          there is no possibility of catching up to the volumes via the proposed process.”

          121.    As predicted in BAN’s public comments, the limits in both

  permits-to-install provide the best evidence that the Closed Loop Defendants could not

  possibly have intended to conduct a legitimate e-waste recycling operation because they

  could not possibly have caught up to the volumes of CRTs that were being accumulated

  without running afoul of speculative accumulation restrictions.

          122.    For all of the reasons set forth above, Defendant Closed Loop secured the

  second permit-to-install solely as part of a continuing effort to mislead Garrison and Ohio

  EPA into finding that there was a feasible means of recycling.

                                  (iii)   2200 Fairwood Avenue

          123.    When Defendant Closed Loop began having difficulties in demonstrating

  the viability of a glass furnace, it proposed a new step in the CRT processing as part of a

  scheme to mislead Ohio EPA into finding that an alternative “feasible means of recycling”

  existed, thereby artificially extending the speculative accumulation period for the

  processed CRT glass at the Properties.

          124.    On or about November 19, 2014, Defendant Closed Loop met with Ohio

  EPA to advise that it would no longer be purchasing 1659 E. Front Street to install a

  furnace and had instead intended to introduce a new “funnel glass cleaning (reclamation)

  process” that would ostensibly remove a coating to meet the product specifications of a
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  glass furnace in India – purportedly to demonstrate that it still had a “feasible means of

  recycling” the vast amounts of CRTs that had been accumulating.

         125.    On or about December 9, 2014, Defendant Closed Loop sent Ohio EPA a

  letter indicating that the new process would be installed by December 15, 2014, at 1635

  Watkins Road, where Defendant Closed Loop had “acquired space.”

         126.    Defendant Closed Loop, however, refused to provide Ohio EPA with

  information regarding the new process in the December 9, 2014 letter, asserting that it was

  “highly proprietary,” despite the availability of long-standing information protections that

  would have prevented Ohio EPA from disclosing the information publicly.

         127.    Defendant Closed Loop’s December 9, 2014 letter advised Ohio EPA that

  the new process was based, in part, on Defendant Closed Loop’s Arizona operations,

  which it considered a “useful model in evaluating . . . the constraints for speculative

  accumulation.”

         128.    ADEQ, however, had previously found that Defendant Closed Loop’s

  Arizona facility was itself in violation of its speculative accumulation requirements for at

  least a full year prior to December 9, 2014, i.e. at the very same time Defendant Closed

  Loop was making the above misrepresentations to Ohio EPA.

         129.    Defendant Closed Loop would eventually abandon approximately 25,000

  tons (50 million pounds) of CRTs at its Arizona facility, in addition to the approximately

  64,000 tons (128 million pounds) of CRTs and other e-waste at the Properties.

         130.    On or about January 5, 2015, and as noted above in Paragraph 110,

  Defendant Closed Loop finally admitted in a letter to Ohio EPA that it was “unable to

  exercise the lease option” at 1635 Watkins Road and had instead “obtained new space at

  2200 Fairwood Avenue” for the new “glass cleaning facility.”
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         131.    On or about March 19, 2015, Ohio EPA advised Defendant Closed Loop in

  a letter that the Ohio EPA Division of Air Pollution Control “has recently become aware of

  a CRT glass acid washing operation located at 2200 Fairwood Avenue that is run by Closed

  Loop” and that the process “may require a permit-to-install and operate.”

         132.    On or about March 4, 2016, according to an Ohio EPA Field Activity

  Report, Defendant Closed Loop Plant Manager Robert Cruz and Defendant Closed Loop

  Manager Matt Strangle advised Ohio EPA that the “tumbler (which aids in the washing) at

  Fairwood broke in the summer of 2015 and had not been repaired yet….”

         133.    Defendant Closed Loop had waited 6-8 months to disclose to Ohio EPA

  that its purportedly “alternative” feasible means of recycling had not been operational,

  while generating millions of dollars in additional revenue from inbound CRTs and other

  e-waste during the same time period.

         134.    For all of the reasons set forth above, the Closed Loop Defendants

  purported to operate a new “funnel glass cleaning (reclamation) process” solely as part of a

  continuing effort to mislead Garrison and Ohio EPA into finding that there was a feasible

  means of recycling when, in fact, no such feasible means of recycling existed.

                                (iv)     Funding

         135.    In or around October and November 2015, Ohio EPA advised Defendant

  Closed Loop in multiple communications that, to demonstrate a “feasible means of

  recycling,” Defendant Closed Loop would need to provide:

         a.      “documentation showing that they have a contract for the furnace, financing

                 arrangements (e.g., letters from investors), a schedule for construction, etc.”

                 (Oct. 23, 2015 phone call between Ohio EPA and Defendant Closed Loop);



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         b.      “bona fide letters of intent from investors to provide capital funds for the

                 construction of the furnace” (Nov. 20, 2015 letter from Ohio EPA to

                 Defendant Closed Loop); and

         c.      “[o]ther information may include written construction schedules,

                 construction contracts and construction permits.” (Nov. 20, 2015 letter from

                 Ohio EPA to Defendant Closed Loop).

         136.    The Closed Loop Defendants never made this demonstration and,

  accordingly, never had a feasible means of recycling, or the ability to fund such recycling.

         137.    The Closed Loop Defendants knew or should have known that they could

  never have secured sufficient funding to install and operate a furnace that could recycle the

  high volumes of processed CRT glass that were accumulating at the Properties.

         138.    The Closed Loop Defendants admitted on at least three occasions that it

  lacked the financial wherewithal to secure commitments to this level of funding, including

  as follows:

         a.      On or about August 5, 2015, Defendant Benham admitted to Garrison in an

                 e-mail requesting another lease restructuring that “CLRR has been under

                 capitalized for the past five years of business.”

         b.      On or about October 26, 2015, Defendant Closed Loop admitted to Ohio

                 EPA in a letter attempting to explain why it had a “feasible means of

                 recycling,” that financing had never been “committed to the project,” thus

                 admitting that there had never been a feasible means of recycling.

         c.      On or about March 17, 2016, Defendant Benham admitted to Garrison in an

                 e-mail regarding liability for the accumulated e-waste that:



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                 “Our efforts to secure venture financing have been unsuccessful at this time.
                 Speaking with potential strategic industry players has evoked even more
                 negative responses – citing the huge amount of CRTs and leaded glass
                 amassed on the property – there is no logic to take on this liability plus the
                 cost to remove it will outweigh any potential revenues to be had from metal
                 sales.”

         139.    The Closed Loop Defendants nevertheless repeatedly represented to Ohio

  EPA and to Garrison that they had either secured funding or were on the cusp of securing

  funding, as part of a delay tactic to stave off environmental enforcement such that it could

  continue to accept inbound CRTs and other e-waste, including as follows:

         a.      On or about March 6, 2015, Defendant LaPoint misrepresented to Ohio

                 EPA in a letter that “we have funding identified” for the furnace.

         b.      On or about September 27, 2015, Defendant Benham advised Garrison in

                 an e-mail that Defendant Closed Loop had “executed a term sheet with a

                 private fund”; that it was “deep in due diligence with closing anticipated in

                 late November or early December 2015”; and that the fund will “provide a

                 $9.5 million term loan credit facility providing additional equipment into

                 the Company’s current operations in Arizona and Ohio, the buildout of the

                 glass furnace operation in Ohio, and much needed working capital.”

         c.      On or about October 22, 2015, Defendant Benham advised ADEQ that

                 Defendant Closed Loop was “very close to obtaining financing for building

                 a furnace in Ohio.”

         140.    Upon information and belief, the costs of constructing an 18,000 tpy glass

  furnace would likely have run approximately $10-20 million, and the costs of operating it

  would likely have run approximately $1 million a year.




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         141.    No reasonable investor would have provided the necessary level of funding

  for Defendant Closed Loop to build a furnace under the prevailing market conditions and

  given the volumes of processed CRT glass at issue.

         142.    Ohio EPA and BAN both expressed concerns with the ability of Defendant

  Closed Loop to secure or allocate the requisite funding, which suggested that it was widely

  understood that Defendant Closed Loop lacked the financial wherewithal or willingness to

  conduct a legitimate recycling operation, including as follows:

         a.      On or about June 25, 2014, Ohio EPA expressed its concern to Defendant

                 Benham in a phone call “with the potential for them to abandon large

                 amounts of hazardous waste glass if they are unsuccessful in securing

                 investments to build the furnace.”

          b.     On or about October 30, 2014, BAN advised U.S. EPA and Ohio EPA in a

                 letter that:

                 “[Closed Loop] continues to bring in large sums of cash for receiving glass
                 from a variety of sources, and yet the money is not in Escrow to be applied
                 to the recycling of the glass. This funding is surely a source of funding that
                 could easily be spent on building a furnace. But this has not happened. One
                 must wonder why.”

         c.      On or about November 5, 2014, Ohio EPA observed following a meeting

                 with Defendant Closed Loop that:

                 “To date, we have not seen any contracts, agreements or letters of intent for
                 investors in the furnace. As such we asked Closed Loop to provide this
                 information before we can recommend taking an action on a variance
                 request. In addition, we are asking Closed Loop to provide an estimate of
                 the cost to properly dispose of all accumulated hazardous processed CRT
                 glass and unprocessed CRTs, as well as evidence of financial assurance for
                 a third party cleanup. Financial assurance seemed to be an issue for the
                 company.”




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         143.     Upon information and belief, and as explained more fully below, the

  Arranger/Transporter Defendants had the requisite sophistication and experience in the

  e-waste industry such that they, too, were aware or should have been aware that Defendant

  Closed Loop lacked the financial wherewithal or willingness to conduct a legitimate

  recycling operation.

         144.     On or about May 6, 2016, Defendant Closed Loop advised Ohio EPA in a

  letter that Defendant Closed Loop would cease its operations in Columbus, Ohio “due to

  changing market conditions and financial considerations.”

         145.     For all of the reasons set forth above, and at all times relevant, the Closed

  Loop Defendants lacked the financial wherewithal and willingness to commit funding to

  build a furnace that could be used to demonstrate that Defendant Closed Loop had a

  feasible means of recycling.

                         c.      Use in a Manner Constituting Disposal

         146.     The qualifying criteria for the CRT conditional exclusion also includes,

  inter alia, a prohibition on using the CRTs “in a manner constituting disposal.” 40 C.F.R. §

  261.39(a)(4).

         147.     U.S. EPA has looked to a variety of factors in determining whether a

  material is a legitimate product as opposed to a waste and whether the recycling process is

  legitimate as opposed to sham recycling, or “disposal.”

         148.     These factors include whether a legitimate market exists for the material,

  whether the material provides revenues, and whether the material is managed to prevent

  release (i.e., managed as a valuable commodity). See, e.g., 40 C.F.R. § 260.43 (setting forth

  required criteria to demonstrate legitimate recycling), id. § 261.2(e)(1) (describing

  materials that are not solid wastes when recycled), id. § 261.2(g) (prohibiting sham
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  recycling), EPA Faxback 13691 (May 19, 1994), EPA Faxback 11750 (June 2, 1993), and

  EPA Faxback 11936 (Jan. 31, 1995).

         149.    The Closed Loop Defendants violated the prohibition on using CRTs in a

  manner constituting disposal by failing to demonstrate that:

         a.      a legitimate market existed for the processed CRT glass they were

                 generating;

         b.      the CRTs that were accumulating on the Properties were being managed as

                 valuable commodities; and

         c.      the CRTs that were accumulating on the Properties were being managed so

                 as to prevent a release.

         150.    No legitimate market existed for the processed CRT glass that the Closed

  Loop Defendants were generating given the manner in which they generated it, including

  as follows:

         a.      It is standard industry practice to segregate leaded funnel glass from panel

                 glass during CRT processing to meet the product specifications of

                 downstream lead smelters.

         b.      It is not economically viable for lead smelters to accept commingled glass

                 from e-waste recyclers, given the need to run over twice as much feedstock

                 (glass) to extract the same amount of lead.

         c.      The Closed Loop Defendants failed to segregate leaded funnel glass from

                 panel glass, as evidenced by the nearly 30,000 Gaylords of used, broken,

                 and commingled CRT glass that were abandoned at the Properties.

         d.      On or about November 19, 2014, Defendant Closed Loop misrepresented to

                 Ohio EPA in a meeting that it had instead been processing CRTs to separate
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                 the nonhazardous front (panel) glass from the hazardous funnel glass, as

                 reflected in an internal Ohio EPA communication.

         e.      On or about May 22, 2015, Defendant Closed Loop again misrepresented to

                 Ohio EPA in response to an information request that “[w]hen CRTs are

                 processed they are separated into Panel Cullet, Funnel Glass, Metals,

                 Plastics and glass fines.”

         f.      On or about October 20, 2015, Defendant Benham provided Garrison with a

                 Site Closure Plan,” which provided yet another misrepresentation: “The

                 CRTs are processed to separate the leaded glass from the unleaded glass,

                 with the leaded glass further processed in a lead recovery line and the

                 unleaded glass further processed to separate different sized particles in a

                 glass-to-glass recovery line.”

         151.    Nor did the Closed Loop Defendants manage the processed CRT glass at

  the Properties in an environmentally responsible manner with a concern for product

  integrity, as is confirmed by the following:

         a.      It is standard industry practice to use new octagon Gaylord boxes to provide

                 appropriate containment for processed CRT glass, which averages 2 tons

                 per Gaylord.

         b.      The Closed Loop Defendants repurposed many of the same four-sided

                 Gaylord boxes that had previously been used to transport used, intact CRTs

                 to the Properties.

         c.      These boxes had, in turn, been repurposed from their initial use to package

                 non-hazardous consumer products, which do not require the same standard

                 of durability.
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         d.      As a result, much of the processed CRT glass has spilled to the floor.

         e.      On or about October 17, 2013, Ohio EPA issued a Notice of Violation

                 (“NOV”) to Defendant Closed Loop, alleging that Defendant Closed Loop

                 failed to qualify for CRT conditional exclusion and finding, inter alia:

                 “At the time of the inspection, Closed Loop was storing approximately 300
                 pallets of broken CRTs outside in cardboard gaylords. (See pics 1-3). The
                 containers had deteriorated to the point that they could no longer hold the
                 CRTs, and CRT glass and parts were strewn throughout the storage area. In
                 addition, the facility was storing approximately 450 pallets of televisions
                 outside; due to storage conditions, some of these CRTS had broken as well.
                 ...

                 During the inspection the gaylords being stored outside and the gaylords
                 inside storing the processed television [sic] were not properly labeled.

                 Closed Loop violated the condition of the exclusion for CRTs thus creating
                 an illegal storage and disposal facility.”

         152.    U.S. EPA has observed that “storing broken CRTs outdoors prior to

  processing is inconsistent with the premise that these materials are commodity-like.” 71

  Fed. Reg. at 42,933.

         153.    For all of the reasons set forth above, the manner in which the Closed Loop

  Defendants processed CRT glass and otherwise managed inbound CRTs evidenced the fact

  that the Closed Loop Defendants had no intention of actually recycling these materials as

  though they were valuable commodities with a legitimate downstream market to receive

  them. Thus, the Closed Loop Defendants failed to satisfy the “non-disposal” requirement

  of the CRT conditional exclusion.

                         d.      State of Ohio Environmental Enforcement

         154.    The Ohio EPA issued an NOV to Defendant Closed Loop on April 11,

  2016, alleging that Defendant Closed Loop failed to qualify for the CRT conditional

  exclusion at the Properties.
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         155.    The April 11, 2016 NOV was at least the fourth NOV Defendant Closed

  Loop had received for violations of Ohio hazardous waste and air quality laws during its

  operations at the Properties. The prior NOVs are as follows:

         a.      On or about October 17, 2013, Ohio EPA issued an NOV that similarly

                 alleged that Defendant Closed Loop failed to qualify for the CRT

                 conditional exclusion at 1675 Watkins Road.

         b.      On or about January 30, 2015, Ohio EPA issued an NOV that alleged that

                 Defendant Closed Loop failed to post the appropriate emergency

                 notification information at 1675 Watkins Road and for failing to provide

                 Ohio EPA with land disposal restriction notifications.

         c.      On or about April 2, 2015, Ohio EPA issued an NOV that alleged that

                 Defendant Closed Loop operated air contaminant sources without a permit

                 at 1675 Watkins Road.

         d.      These NOVs are in addition to a series of OSHA citations relating to

                 respiratory protection, lead, cadmium, and air contaminants issued on

                 August 14, 2015 (15 “serious” citations); November 9, 2015 (1 “serious”

                 citation); and December 24, 2015 (1 “other” citation).

         156.    The April 11, 2016 NOV alleged, inter alia, that Defendant Closed Loop:

  (a) failed to demonstrate that it was not speculatively accumulating CRTs or processed

  CRTs; (b) was not operating a “legitimate recycling facility”; (c) “did not have a feasible

  means of recycling”; and (d) “illegally transported a hazardous waste under Ohio’s

  hazardous waste laws to an unpermitted facility.”




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         157.    Ohio EPA further indicated in the April 11, 2016 NOV that it was referring

  the matter to Ohio EPA’s Division of Materials and Waste Management’s hazardous waste

  enforcement coordinator for enforcement consideration.

         158.    Garrison was copied on the April 11, 2016 NOV issued by Ohio EPA to

  Defendant Closed Loop.

         159.    On or about August 31, 2016, Ohio EPA confirmed to Garrison’s counsel in

  a telephone call that Ohio EPA views Garrison liable as owner of a hazardous waste facility

  and that Ohio EPA intends to pursue Garrison for clean-up costs.

         160.    On or about September 9, 2016, Ohio EPA sent a letter requesting the

  Attorney General of Ohio (“Ohio AG”) to initiate “all necessary legal and/or equitable civil

  actions as may be deemed necessary and seek appropriate penalties against [Defendant

  Closed Loop] and other appropriate persons for the violations of ORC Chapter 3734 and

  the rules adopted thereunder.” (Emphasis added.)

         161.    No enforcement action has been filed, however, and Garrison has not

  settled any actual alleged liability it may have regarding the Properties.

         162.    Garrison has been cooperating with the Ohio AG and Ohio EPA

  investigation. Garrison has undertaken efforts at its sole expense to investigate the nature

  and quantity of the abandoned CRTs and other e-waste at the Properties and to protect

  public health and safety. All costs incurred to date are consistent with the U.S. EPA

  National Contingency Plan (“NCP”) at 40 C.F.R. Part 300, in keeping with 42 U.S.C. §

  9607(b). These efforts have included, but are not limited to:

         a.      arranging for the retention of an environmental consultant, Atwell, LLC,

                 which performed site inspections and records reviews to characterize the



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                   nature and extent of the abandoned CRTs and other e-waste at the

                   Properties;

         b.        directing Atwell, LLC to identify potential options and locations for the

                   recycling or, if necessary, disposal of the abandoned CRTs and other

                   e-waste in accordance with applicable federal and state laws;

         c.        directing Atwell, LLC to obtain cost estimates from potential hazardous and

                   electronic waste vendors for the recycling and/or disposal of the abandoned

                   CRTs and other e-waste and for the abatement and remediation of the

                   Properties;

         d.        coordinating with Garrison’s property management company, Jones Lang

                   LaSalle, to secure the Properties to prevent unauthorized entry; and

         e.        directing Atwell, LLC to prepare a health and safety plan to inform

                   personnel participating in on-site activities at the Properties, including

                   contractors performing removal or abatement activity, of the known or

                   reasonably anticipated potential hazards and safety concerns.

                   2.     The Arranger/Transporter Defendants

         163.      The Arranger/Transporter Defendants participated in and profited from the

  Closed Loop Defendants’ e-waste recycling scheme.

         164.      The Arranger/Transporter Defendants selected Defendant Closed Loop as

  the cheapest possible option on the market to receive and ostensibly “recycle” CRTs and

  other e-waste.

         165.      The Arranger/Transporter Defendants either knew or should have known

  that the Closed Loop Defendants lacked the capacity to qualify for the CRT conditional

  exclusion at the time the arrangements were made to transport the CRTs and other e-waste
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  to the Properties and at the time the CRTs and other e-waste were accepted for transport to

  the Properties.

         166.       The Arranger/Transporter Defendants benefited from the delay tactics that

  the Closed Loop Defendants implemented to hold Ohio EPA and Garrison at bay.

         167.       With the requisite experience and sophistication in the tightknit e-waste

  industry, the Arranger/Transporter Defendants knew or should have known that the Closed

  Loop Defendants did not qualify for the CRT conditional exclusion, because the

  Arranger/Transporter Defendants knew or should have known that the Closed Loop

  Defendants were speculatively accumulating CRTs, had no feasible means of recycling

  them, and were using them in a manner constituting disposal.

         168.       There is widespread and long-standing recognition in the e-waste recycling

  industry regarding concerns with e-waste abandonment, including concerns that were

  known or should have by known by the Arranger/Transporter Defendants, including as

  follows:

         a.         The U.S. EPA web page on CRTs warns: “Because of rising costs, negative

                    economic incentives and shifts in CRT glass markets, some CRT processors

                    and recyclers are choosing to store the glass indefinitely rather than send it

                    for recycling or disposal, which increases the risk of mismanagement

                    and/or           abandonment              of           CRTs.”             See

                    https://www.epa.gov/hw/cathode-ray-tubes-crts-0.

         b.         A U.S. EPA official recently observed at an e-waste conference called

                    “E-Scrap 2016” that: “Basically, we’ve been seeing a pattern consistently

                    across the nation of stockpiles, illegal disposal, mismanagement of



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                CRTs…. In some cases, it’s just warehouses full.” See E-Scrap News, U.S.

                EPA Offers Information on CRT Regulations (Oct. 6, 2016).

         c.     Ohio EPA has issued guidance that provides: “In addition to being familiar

                with the manner in which electronics will be recycled, it is important to

                research the recycling facility to determine if it has any compliance

                problems. . . . If electronic equipment is not recycled properly, and it is a

                hazardous waste, both your company and the recycling facility will be

                liable for clean-up costs associated with improper disposal of hazardous

                components.”                                                             See

                http://epa.ohio.gov/portals/32/pdf/Electronic_Equipment_Guidance.pdf.

         d.     BAN routinely warns against the dangers to public and health and the

                environment of e-waste abandonment. See http://www.ban.org/news/.

         169.   Several recent e-waste abandonments and related environmental

  enforcement actions have been widely reported in the media, and any participant in the

  e-waste recycling market would have been well aware of the trend, including the

  Arranger/Transporter Defendants, briefly summarized as follows:

         a.     A small sampling of recent enforcement actions includes several matters

                with ties to the Closed Loop Defendants: Eco International, LLC / Amandi

                Services / Envirocycle (U.S. EPA Region 2 Consent Agreement and Final

                Order dated Sept. 30, 2015 arising out of speculative accumulation

                violations and associated e-waste abandonment of approximately 13,000

                tons of CRTs and other e-waste; Defendant Cauchi was a principal in a

                predecessor entity); E-World Recyclers, LLC (U.S. District Court for the

                Southern District of California indictment arising out of fraudulent e-waste
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                recycling services, dated Dec. 18, 2014; E-World Recyclers, LLC arranged

                for the transport of at least 12.1 million pounds of CRTs and other e-waste

                to Defendant Closed Loop); and 2TRG / E-Waste Systems (Ohio EPA

                NOV dated July 24, 2014 involving e-waste abandonment in Cincinnati,

                Ohio, much of which was later shipped to the Properties).

         b.     At least one of the 25 states with e-waste recycling laws denied recycling

                credit to original equipment manufacturers for processed CRT glass sent to

                the Closed Loop Defendants.

                (i)     In or about December 2014, the Wisconsin Department of Natural

                       Resources (“Wisconsin DNR”) issued a statewide warning to

                       e-waste recyclers that Defendant Closed Loop lacked the capacity to

                       process CRTs and that any CRTs sent to Defendant Closed Loop

                       would accordingly not be counted toward manufacturer credit under

                       the E-Cycle Wisconsin Program.

                (ii)    The warning provided: “Until the furnace is up and running and

                       processing CRT glass, the weight of any glass sent to Closed Loop

                       and stored at any of its facilities may not be counted for

                       manufacturer credit under E-Cycle Wisconsin.”

         170.   The fact that the Closed Loop Defendants were stockpiling CRTs at the

  Properties in violation of speculative accumulation requirements was widely known in the

  e-waste industry for several years prior to 2016 and was known or should have been known

  by the Arranger/Transporter Defendants. For example:




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         a.     Resource Recycling, Inc., an e-waste trade publication, not only tracks

                e-waste abandonment, but has reported specifically on the Closed Loop

                Defendants since at least 2014.

         b.     A sampling of relevant Resource Recycling, Inc. articles includes: E-Scrap

                News, CRT Player Closed Loop Receives Notice of Violation (Nov. 6,

                2014); E-Scrap News, Under Regulatory Pressure, Closed Loop Explores

                Options (Nov. 21, 2014); E-Scrap News, Stored CRT Glass in Arizona is

                Set to Move (June 18, 2015); E-Scrap News, Auditor Voices Concerns

                about CRT Processor (Feb. 25, 2016); E-Scrap News, CRT Closed Loop

                Nears Collapse (Apr. 14, 2016); E-Scrap News, Closed Loop Leaves Ohio

                Facility (May 5, 2016); E-Scrap News, From Promises to Piles (June

                2016); E-Scrap News, U.S. EPA Offers Information on CRT Regulations

                (Oct. 6, 2016) (citing a U.S. EPA official’s discussion of Defendant Closed

                Loop as one of the recent high-profile CRT issues in the U.S.).

         171.   The fact that the Closed Loop Defendants were otherwise not operating in

  compliance with federal and state hazardous waste laws was widely known in the e-waste

  industry for several years and was known or should have been known by the

  Arranger/Transporter Defendants because, among other reasons:

         a.     The Consent Order with ADEQ entered into on April 28, 2015 made

                national news. See E-Scrap News, Stored CRT glass in Arizona is set to

                move (June 18, 2015).

         b.     Anyone conducting the most basic environmental due diligence on

                downstream recipients of CRTs would have or should have consulted the

                U.S. EPA’s ECHO (Enforcement and Compliance History Online)
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                 database, which provides a detailed history on noncompliance with

                 hazardous waste and air quality laws at the Properties.

         172.    The fact that the Closed Loop Defendants did not have a glass furnace was

  widely known in the e-waste industry for several years and was known or should have been

  known by the Arranger/Transporter Defendants.

         173.    There are only a small number of glass furnaces that can currently extract

  lead from processed CRT glass in North America, and the existence of an additional option

  would have attracted widespread industry attention.

         174.    The fact that the Closed Loop Defendants lacked other downstream markets

  to manage processed CRT glass was widely known in the e-waste industry for several

  years because it directly impacted the revenue streams of nearly every entity involved in

  the CRT recycling chain, including the Arranger/Transporter Defendants.

         175.    At all times relevant, the Arranger/Transporter Defendants knew or should

  have known, and had an objectively reasonable basis to believe, that the processed CRT

  glass at the Properties would not be recycled in accordance with the CRT conditional

  exclusion, including its speculative accumulation requirement.

         176.    Thus, for all of the reasons noted above, the Arranger/Transporter

  Defendants transported and/or arranged for the transport of CRTs and other e-waste to the

  Properties, despite the fact that they knew or should have known that the Closed Loop

  Defendants lacked the capacity to qualify for the CRT conditional exclusion.

                        a.      Federal Prison Industries, Inc. d/b/a UNICOR

         177.    Records produced by the Closed Loop Defendants indicate that Defendant

  UNICOR arranged for the transport of more than 4.6 million pounds of CRTs and other

  e-waste to the Properties starting in 2012 and extending into 2015.
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           178.   Records produced by the Closed Loop Defendants indicate that Defendant

  UNICOR arranged for the transport of these CRTs and other e-waste to the Properties from

  at least four different locations:   (a) Marianna Federal Prison Industries, UNICOR

  Recycling, Marianna, Florida; (b) Fort Dix Federal Prison Industries, UNICOR Recycling,

  Fort Dix, New Jersey; (c) Lewisburg Federal Prison Industries, UNICOR Recycling,

  Lewisburg, Pennsylvania; and (d) Tucson Federal Prison Industries, UNICOR Recycling,

  Tucson, Arizona.

           179.   Defendant UNICOR and the Closed Loop Defendants executed a series of

  “Commodity Purchase Agreements,” which included a unit price quote of as low as

  $0.0800 per pound for “Whole CRT Tubes.”

           180.   Defendant UNICOR knew or should have known that the artificially low

  prices being charged by Defendant Closed Loop substantially undercut the prevailing

  market with a price point that no reasonable industry participant could have believed to be

  sufficient to cover the costs of a legitimate recycling operation. Thus, Defendant UNICOR

  knew or should have known that Defendant Closed Loop was running a sham recycling

  scheme, but chose to do business with it anyway in an attempt to benefit from its

  misconduct.

           181.   In or about June 2016, E-Scrap News reported that Defendant UNICOR

  paid the Closed Loop Defendants nearly $2.5 million in e-waste recycling services from

  August 2011 through January 2015. See E-Scrap News, From promises to piles (June

  2015).

           182.   Defendant UNICOR has a long history of noncompliance with federal and

  state hazardous waste laws, including with the CRT conditional exclusion.



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         183.   In or about October 2010, the U.S. Department of Justice Office of the

  Inspector General (“DOJ OIG”) released a 433-page report entitled “A Review of Federal

  Prison Industries’ Electronic-Waste Recycling Program.”

         a.     The report concluded that “management of the e-waste recycling program

                resulted in numerous violations of health, safety, and environmental laws,

                regulations, and BOP [Bureau of Prisons] policies.”

         b.      With respect to CRTs, the report noted:

                “According to staff, inmates, and UNICOR customers, open gaylord boxes
                and dumpster containers containing broken CRTs were routinely left
                outdoors at the UNICOR warehouse at FCI Elkton, some for months at a
                time, allowing for the release of dust and glass debris to the air, soil, and
                storm drains through wind or rainwater runoff. Staff at USP Atwater also
                stated that boxes of broken monitor glass were stored outdoors uncovered.
                After conferring with the EPA, we concluded that the activities described
                above constitute unlawful disposals and storage of hazardous waste.”

         184.   Particularly in light of the extensive scrutiny from DOJ OIG, Defendant

  UNICOR had the sophistication and experience in the e-waste industry necessary to

  ascertain the true nature of the Closed Loop Defendants’ sham recycling operations.

         185.   Defendant UNICOR, however, failed to exercise reasonable care to

  determine whether Defendant Closed Loop was operating in compliance with applicable

  law, including whether Defendant Closed Loop qualified for the CRT conditional

  exclusion.

         186.   On or about November 19, 2014, a competitor of the Closed Loop

  Defendants e-mailed Defendant UNICOR, advising them that Defendant Closed Loop

  “does not recycle the funnel glass” and was not running a legitimate end-use e-waste

  recycling operation.




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         187.    Nevertheless, Defendant UNICOR continued to ship vast quantities of

  CRTs and other e-waste to the Properties to take advantage of the Closed Loop

  Defendants’ artificially low prices.

         188.    Records produced by the Closed Loop Defendants indicate that the drivers

  for Defendant UNICOR made at least 125 different deliveries to the Properties.

         189.    Upon information and belief, these drivers observed firsthand that the

  Closed Loop Defendants’ e-waste recycling operation was not a legitimate enterprise and

  amounted to sham recycling.

         190.    These drivers would have witnessed the fact that Defendant Closed Loop

  was stockpiling CRTs and other e-waste in such immense quantities that they could not

  possibly be recycled in the course of a single calendar year or otherwise as part of a

  legitimate and economically viable recycling operation.

         191.    These drivers would have witnessed how the Closed Loop Defendants used

  CRTs in a manner constituting disposal, including the hundreds of pallets of deteriorating

  Gaylords and broken CRTs stored outside that led to the October 17, 2013 NOV described

  in Paragraph 151; the deteriorating Gaylords stacked 15-20 feet high inside the Properties

  without sufficient aisle space in which to manage them, which led to the April 11, 2016

  NOV described in Paragraph 156; and the hazardous leaded dust dispersed throughout the

  Properties given the lack of appropriate dust containment that contributed to the OSHA

  violations described in Paragraph 155.

         192.    Thus, at all times relevant, Defendant UNICOR knew or should have

  known that the Closed Loop Defendants did not qualify for the CRT conditional exclusion,

  because Defendant UNICOR knew or should have known that the Closed Loop



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  Defendants were speculatively accumulating CRTs, had no feasible means of recycling

  them, and/or were using them in a manner constituting disposal.

         193.    Nevertheless, enticed by the artificially low prices offered by a sham

  recycling operation, Defendant UNICOR selected Defendant Closed Loop as its

  downstream e-waste “recycler,” arranging for the transport of more than 4.6 million

  pounds of CRTs and other e-waste to the Properties over approximately a three-and-a-half

  year period, from 2013 through 2016.

                        b.       The Kuusakoski Defendants

         194.    Records produced by the Closed Loop Defendants indicate that Kuusakoski

  Defendants, including, but possibly not limited to, Defendants Kuusakoski Recycling,

  Kuusakoski US LLC (via VTKK, LLC), and Vintage Tech, arranged for the transport of

  more than 48.6 million pounds of CRTs and other e-waste to the Properties, representing

  more than 35% of the total amount of e-waste abandoned at the Properties, starting in 2012

  and extending into 2016.

         195.    Kuusakoski Defendants, including, but possibly not limited to, Defendants

  Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage Tech, and the

  Closed Loop Defendants executed a series of “Commodity Purchase Agreements” to

  arrange for the transport of CRTs and other e-waste to the Properties.

         196.    The Commodity Purchase Agreements included a unit price quote of as low

  as $0.0750 per pound for “Whole CRT Tubes.”

         197.    Kuusakoski Defendants, including, but possibly not limited to, Defendants

  Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage Tech, knew

  or should have known that the artificially low prices being charged by Defendant Closed

  Loop substantially undercut the prevailing market with a price point that no reasonable
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  industry participant could have believed to be sufficient to cover the costs of a legitimate

  recycling operation. Thus, Kuusakoski Defendants, including, but possibly not limited to,

  Defendants Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage

  Tech, knew or should have known that Defendant Closed Loop was running a sham

  recycling scheme, but chose to do business with it anyway in an attempt to benefit from its

  misconduct.

         198.    Kuusakoski Defendants, including, but possibly not limited to, Defendants

  Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage Tech, were

  the highest volume shippers to the Closed Loop Defendants from 2012 through 2016,

  despite issuing several guarantees on their website that they do not contribute to

  stockpiling CRTs:

         a.      “We guarantee that CRT electronics and material sent to us is not stockpiled

                 or shipped internationally.”

                 See http://www.kuusakoski.us/our-services/e-scrap-processing/.

         b.      “We absolutely, positively do not stockpile CRT devices or CRT glass. You

                 never have to worry that your hazardous, lead-containing CRT glass is

                 sitting in a warehouse or empty lot for years.”

                 See http://www.kuusakoski.us/what-we-recycle/crts-crt-recycling/.

         c.      “[W]e ensure our customers that their materials are properly handled,

                 processed, and recycled.”

                 See http://www.kuusakoski.us/what-we-recycle/.

         d.      “We work only with certified, audited downstream vendors that process and

                 handle materials in safe, legal, and planet-friendly ways.”

                 See http://www.kuusakoski.us/our-services/e-scrap-processing/.
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         199.    The Kuusakoski Defendants had the sophistication and experience in the

  e-waste industry necessary to ascertain the true nature of the Closed Loop Defendants’

  sham recycling operations.

         200.    The Kuusakoski Defendants assert that they have “deep industry expertise,”

  that they have “streamlined [their] processes to be among the best in the world,” and that

  they “cover 48 states in the U.S., with processing facilities on the East Coast and centrally

  in the mid-West.” See http://www.kuusakoski.us/our-services/e-scrap-processing/.

         201.    Nevertheless, the Kuusakoski Defendants failed to exercise reasonable care

  to determine whether Defendant Closed Loop was operating in compliance with applicable

  law, including whether Defendant Closed Loop qualified for the CRT conditional

  exclusion.

         202.    On or around January 5, 2013, the Closed Loop Defendants provided

  Kuusakoski Defendants, including, but possibly not limited to, Defendant Vintage Tech,

  with a proposal entitled “Strategic Partnership for Vintage Tech Recyclers & Closed Loop

  Refining & Recovery, Inc.,” in which Kuusakoski Defendants, including, but possibly not

  limited to, Defendant Vintage Tech, would “provide funding to [the Closed Loop

  Defendants] for the first CRT commercial (Pb) lead recovery and glass furnace in the

  North America.”

         203.    The proposal, which was never accepted, evidences the fact that

  Kuusakoski Defendants including, but possibly not limited to, Defendant Vintage Tech,

  knew that the Closed Loop Defendants not only lacked the funding to build their own

  furnace, but that there were no other furnaces in all of North America to handle the vast

  amounts of CRTs that Kuusakoski Defendants, including, but possibly not limited to,

  Defendants Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage
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  Tech, had already shipped to the Properties and would continue to ship to the Properties for

  an additional three years.

           204.   In or around August 2013, Kuusakoski Defendants, including, but possibly

  not limited to, Defendant Kuusakoski Recycling, issued a white paper entitled “An

  Analysis of the Demand for CRT Glass Processing in the U.S.” As pertinent, the white

  paper:

           a.     concludes that there is insufficient capacity to manage the quantity of CRTs

                  reaching end-of-life and that “[t]here [were] only four end-use markets

                  processing CRT glass in North America” and that “[o]f these, only one is

                  located in the U.S.” (citing Doe Run (Missouri), Teck Resources (British

                  Columbia, Canada), Xstrata Zinc (New Brunswick, Canada), and Cali

                  Resources/TDM (Baja California, Mexico));

           b.     provides an extensive accounting of recent e-waste abandonments, citing to

                  Resource Recycling, Inc., among other publications, and noting: “Various

                  reports within the past year have indicated some processors are stockpiling

                  CRTs due to a lack of market capacity or affordable access to market

                  capacity”;

           c.     cites to a CRT stockpiling study, which concluded: “Recyclers ‘setting

                  aside’ the cost of managing CRT glass while enjoying revenue from

                  commodities is the single largest contributor to stockpiling CRT glass”;

           d.     explains that market conditions are “further compounded because recyclers

                  are reportedly eager to secure contracts from the OEMs [original equipment

                  manufacturers], and they may therefore bid contracts with aggressively low

                  pricing”; and
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           e.     tracks the Closed Loop Defendants, citing to a “personal communication,”

                  for the premise that the Closed Loop Defendants were offering the lowest

                  price point in the U.S. for inbound CRTs.

           205.   In or around October 2014, Kuusakoski Defendants, including, but possibly

  not limited to, Defendant Kuusakoski Recycling, issued a second white paper entitled

  “CRT Glass Processing Update: Industry and Regulatory Developments.” The white

  paper:

           a.     concludes that the overall conclusions of the first white paper “remain

                  unchanged,” i.e., CRT glass continues to be stockpiled; that existing

                  end-use markets fall far short of current demand; and that proposed future

                  capacity is “at best, only available at some unknown point in the future

                  (when the strongest demand exists today) or, at worst, speculative in

                  nature”;

           b.     reiterates many of the concerns regarding e-waste abandonment, noting that

                  the “continued reporting of abandoned CRT stockpiles is empirical

                  evidence that there is a lack of viable processing capacity”;

           c.     tracks the lack of progress with the Closed Loop Defendants’ proposed

                  glass furnaces in Arizona and Ohio;

           d.     notes: “Given the extended periods of time that proposed facilities are

                  taking to be developed, it is apparent that proposed facilities cannot be

                  relied upon to provide real capacity until they are operating and

                  demonstrate the ability to meet their design capacity”; and

           e.     quotes Defendant Cauchi, who admitted that Defendant Closed Loop had

                  no feasible means of recycling and could not meet the speculative
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                accumulation requirements: “The fact of the matter is the amount of glass

                that’s being generated cannot be consumed by the glass furnaces today,

                even if [all prospective operations] go on-line . . . . There’s a five-year

                backlog on the ground.”

         206.   In or around September 2016, Kuusakoski Defendants, including, but

  possibly not limited to, Defendant Kuusakoski Recycling, issued a third white paper

  entitled “CRT Glass Processing Capacity and Latest Enhancement to the Kuusakoski /

  PDC CRT Glass Solution (Third Update).”

         a.     The white paper devoted a significant amount of attention to the demise of

                Defendant Closed Loop, which prior white papers had been tracking.

         b.     Kuusakoski Defendants including, but possibly not limited to, Defendant

                Kuusakoski Recycling, quoted Defendant Benham’s efforts to blame

                everyone: “[T]he customers and the OEMs that allowed shipment to our site

                [were well aware] of what we were doing. . . . No one was hiding the

                pickle.”

         c.     Defendant Benham’s suggestion that the customers and OEMs were aware

                of the Closed Loop Defendants’ business practices confirms that they, too,

                were beneficiaries and willing participants in the Closed Loop Defendants’

                scheme to defraud Garrison.

         d.     Further, citing the Closed Loop Defendants’ furnaces that were never built,

                Kuusakoski Defendants, including, but possibly not limited to, Defendant

                Kuusakoski Recycling, admitted that a reasonable duty of care in the

                industry would involve some modicum of due diligence by OEMs,

                customers, and others upstream in the chain:
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                “[C]aution and prudence must be exercised with end-use markets that are
                accumulating inventories of CRT glass in advance of a facility actually
                commencing processing operations . . . . (as in the case of Closed Loop) . . .
                . [A]dditional due diligence of end-use processors may be required by
                upstream processors and OEMs beyond the reported capacity of the end-use
                processor. The fact that an end-use market may be allowed by one of the
                certification    organizations    (Sustainable      Electronics   Recycling
                International, formerly R2 Solutions, and e-Stewards) has never been a
                guarantee that material is being properly handled. GES was R2 certified,
                and although an audit of the facility identified serious nonconformities, the
                burying of CRTs was discovered by a news channel. A demonstrated,
                long-term track record in handling CRT glass would be an important due
                diligence criterion.”

         207.   Thus, by their own admission, the highest volume shippers to Defendant

  Closed Loop knew or should have known that the Closed Loop Defendants did not qualify

  for the CRT conditional exclusion and yet transported and/or arranged for the transport of

  more than 48.6 million pounds of CRTs and other e-waste to them anyway.

         208.   The white papers authored by Kuusakoski Defendants, including, but

  possibly not limited to, Defendant Kuusakoski Recycling, also established that they had

  their own capacity to process CRTs as an end-use market:

         a.     The 2013 white paper promotes a new CRT recycling facility under

                development by Kuusakoski Defendants, including, but possibly not

                limited to, Defendant Kuusakoski Recycling, in Peoria, Illinois that would

                ostensibly “treat” crushed CRT glass and use the treated material as

                “alternative daily cover” for municipal landfills through a process called

                “KleanKover.”

         b.     The 2014 white paper indicates that Kuusakoski Defendants, including, but

                possibly not limited to, Defendant Kuusakoski Recycling, have “processed

                millions of pounds of CRT material” through the “KleanKover Recycling

                Solution,” which has “been successfully operating since November 2013.”
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         c.      The 2014 white paper also promotes yet another new method of handling

                 CRT glass under development by Kuusakoski Defendants, including, but

                 possibly not limited to, Defendant Kuusakoski Recycling, in which “treated

                 CRT glass will be stored in a dedicated [landfill] cell that will permit future

                 mining of the material if future end-use markets for leaded glass are

                 developed.”

         d.      The 2016 white paper indicates that the new method of retrievable landfill

                 storage cells has been operational since July 2015 and that Kuusakoski

                 Defendants, including, but possibly not limited to, Defendant Kuusakoski

                 Recycling, had been providing a “guaranteed, defined market for 50,000

                 tons per year of CRT glass.”

         209.    Nevertheless, Kuusakoski Defendants, including, but possibly not limited

  to, Defendants Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and

  Vintage Tech, continued to ship vast quantities of CRTs and other e-waste to the Properties

  to take advantage of the Closed Loop Defendants’ artificially low prices.

         210.    In or around September 23-24, 2014, Anssi Takala, on behalf of at least one

  of the Kuusakoski Defendants, and Defendant Benham participated in the “Sustainable

  Materials Management (SMM) Electronics Recycling Forum” (“SSM Forum”) in

  Arlington, Virginia, which was hosted by U.S. EPA as part of an effort “to address the

  challenges of Cathode Ray Tube (CRT) stockpiling.”

         211.    The SSM Forum began with the following “CRT Problem Statement”:

                 “CRTs and CRT glass were once easily recycled into new CRTs; however,
                 the demand for new CRTs has collapsed in favor of new flat panel
                 technologies. Because of rising costs, negative economic incentives, and
                 shifts in CRT glass markets, some CRT processors and recyclers are
                 choosing to store the glass indefinitely rather than send it for recycling (or
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                 disposal), which increases the risk of mismanagement and/or abandonment
                 of the CRTs.”

         212.    U.S. EPA summarized the “Factors Leading to the Problem” in a

  subsequent publication about the SSM Forum; these factors included, among other things:

         a.      “There is a financial incentive for entities to get paid to collect CRTs and
                 CRT glass and then not pay to recycle (or dispose).”

         b.      “ʻCherry-picking’ high-value parts lowers value down the chain.”

         c.      “Shipments out of state can’t be regulated by original jurisdiction.”

         d.      “Barriers to [market] entry are low.”

         e.      “Recyclers aren’t charging enough to cover costs for recycling.”

         f.      “Thin operating margins, insufficient funds held.”

         213.    Records produced by the Closed Loop Defendants indicate that the drivers

  for Kuusakoski Defendants, including, but possibly not limited to, Defendants Kuusakoski

  Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage Tech, nevertheless made

  at least 1300 different deliveries to the Properties.

         214.    Upon information and belief, these drivers observed firsthand that the

  Closed Loop Defendants’ e-waste recycling operation was not a legitimate enterprise and

  amounted to sham recycling.

         215.    These drivers would have witnessed the fact that Defendant Closed Loop

  was stockpiling CRTs and other e-waste in such immense quantities that they could not

  possibly be recycled in the course of a single calendar year or otherwise as part of a

  legitimate and economically viable recycling operation.

         216.    These drivers would have witnessed firsthand how the Closed Loop

  Defendants used CRTs in a manner constituting disposal, including the hundreds of pallets

  of deteriorating Gaylords and broken CRTs stored outside that led to the October 17, 2013
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  NOV described in Paragraph 151; the deteriorating Gaylords stacked 15-20 feet high

  inside the Properties without sufficient aisle space in which to manage them, which led to

  the April 11, 2016 NOV described in Paragraph 156; and the hazardous leaded dust

  dispersed throughout the Properties given the lack of appropriate dust containment that

  contributed to the OSHA violations described in Paragraph 155.

         217.    Upon information and belief, the Kuusakoski Defendants’ business model

  appears to be based on generating revenue from sham recycling operations, then profiting

  again off the cleanup. See http://www.kuusakoski.us/our-services/crt-glass-clean-ups/.

         218.    Upon information and belief, the Kuusaksoski Defendants arranged for the

  disposal of CRTs and other e-waste at the Properties, generating millions of dollars in

  profit, knowing that they would have an additional opportunity to profit off the cleanup of

  the Properties after the Closed Loop Defendants abandoned them.

         219.    On or about April 28, 2016, Kuusakoski Defendants, including, but

  possibly not limited to, Defendant Kuusakoski Recycling, without acknowledging they

  were the top CRT shipper to the Properties, brazenly submitted a bid to Garrison to clean

  up the e-waste that the Closed Loop Defendants had abandoned, which included the

  millions of pounds of e-waste that Kuusakoski Defendants themselves had shipped or

  arranged to be shipped previously.

         220.    Their bids ranged from $16.5 million to $20.9 million, in what would likely

  have been one of the most lucrative contracts for e-waste remediation in U.S. history.

         221.    On or about June 7, 2017, counsel for Defendant Kuusakoski Recycling

  sent a letter to Plaintiff’s counsel providing a revised (and unsolicited) second bid,

  explaining that it should not be disqualified from the bidding process because it did not

  ship e-waste to the Properties; the letter went on to blame Defendant Vintage Tech, which
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  was described as a “sister entity” of Defendant Kuusakoski Recycling, for contributing to

  the abandonment at the Properties.

         222.    On or about July 10, 2017, a “Sam” from Defendant Vintage Tech left

  Plaintiff’s counsel a voice mail requesting an opportunity to submit a bid of its own to

  remediate the Properties.

         223.    Kuusakoski Defendants including, but possibly not limited to, Defendant

  Kuusakoski Recycling and Defendant Vintage Tech, thus sought to bootstrap the revenues

  they had generated from the Closed Loop Defendants’ artificially low prices by offering to

  clean up the very same mess they had knowingly created.

         224.    Thus, at all times relevant, the Kuusakoski Defendants knew or should have

  known that the Closed Loop Defendants did not qualify for the CRT conditional exclusion,

  because the Kuusakoski Defendants knew or should have known that the Closed Loop

  Defendants were speculatively accumulating CRTs, had no feasible means of recycling

  them, and/or were using them in a manner constituting disposal.

         225.    Nevertheless, enticed by the artificially low prices offered by a sham

  recycling operation, Kuusakoski Defendants, including, but possibly not limited to,

  Defendants Kuusakoski Recycling, Kuusakoski US LLC (via VTKK, LLC), and Vintage

  Tech, selected the Closed Loop Defendants as their downstream e-waste “recycler,”

  arranging for the transport of more than 48.6 million pounds of CRTs and other e-waste to

  the Properties over a four-year period, from 2012 through 2016.

                                     FIRST CAUSE OF ACTION

                                        (Declaratory Judgment)

         226.    Plaintiff repeats and realleges the allegations in Paragraphs 1 through 225

  of this Complaint as if fully set forth herein.
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         227.    This claim arises under the provisions of the Declaratory Judgment Act, 28

  U.S.C. §§ 2201-2202, which authorizes this Court to render declaratory judgment as to the

  allocation of liability for response costs and damages.

         228.    An actual, substantial, and justiciable controversy exists between Garrison

  and all Defendants regarding their respective rights and obligations for the response costs

  and/or damages that have been and will be incurred in connection with the release and/or

  threatened release of hazardous substances at the Properties.

         229.    Declaratory relief is necessary because, without a ruling on the parties’

  allocation of liability for response costs and damages, Garrison would be forced to bring

  subsequent lawsuits to obtain contribution for future response costs.

         230.    Garrison seeks a declaratory judgment against Defendants under 28 U.S.C.

  §§ 2201-2202, holding all Defendants strictly liable for all of response costs incurred and

  to be incurred at the Properties that will bind the parties in any subsequent action to recover

  further response costs or damages.

                               SECOND CAUSE OF ACTION

                                  (CERCLA Cost Recovery)

         231.    Garrison repeats and realleges the allegations in Paragraphs 1 through 230

  of this Complaint as if fully set forth herein.

         232.    Each Defendant is a “person” as defined by 42 U.S.C. § 9601(21).

         233.    The Properties constitute a “facility” within the meaning of 42 U.S.C. §

  9601(9).

         234.    Hazardous substances, within the meaning of 42 U.S.C. § 9601(14),

  including, but not limited, to lead, were disposed of at the Properties during the period in

  which Defendant Closed Loop leased and operated the facility at the Properties and during
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  the period in which the Arranger/Transporter Defendants transported or arranged to be

  transported CRTs and other e-waste to the Properties.

            235.   There have been and continue to be “releases” or “threatened releases” of

  hazardous substances at, on to and from the Properties, within the meaning of 42 U.S.C. §§

  9601(22) and 9607(a).

            236.   CERCLA defines release as including “any spilling, leaking, pumping,

  pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping, or

  disposing into the environment (including the abandonment or discarding of barrels,

  containers, and other closed receptacles containing any hazardous substance or pollutant or

  contaminant).” 42 U.S.C. § 9601(22).

            237.   The vast majority of the e-waste in 1655 and 1675 Watkins Road consists of

  used, broken CRT glass, much or all of which was not maintained in appropriate containers

  and much of which was released from this initial confinement, spilling to the floor as a

  result.

            238.   CRT processing, which involves breaking leaded glass, releases hazardous

  leaded dust, which has dispersed throughout 1655 and 1675 Watkins Road; has become

  embedded in the CRT processing equipment and surrounding structures; has collected on

  the floor; and was tracked by workers throughout the warehouses.

            239.   A “release” occurred at 1655 and 1675 Watkins Road, regardless of

  whether the leaded glass or leaded dust escaped from initial confinement, given that

  Congress expressly defined the term “release” in CERCLA as “including the abandonment

  or discarding of barrels, containers, and other closed receptacles containing any hazardous

  substance or pollutant.”



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         240.    As a result of the releases or threatened releases of hazardous substances,

  Garrison has incurred and continues to incur response costs within the meaning of 42

  U.S.C. §§ 9601(23) and (25) as described in Paragraph 162 hereof.

         241.    All of Garrison’s costs were and are being incurred consistent with

  CERCLA’s NCP, 42 U.S.C. § 9605(a) and 40 C.F.R. Part 300.

         242.    To date, Garrison has incurred in excess of $112,000 in such costs. Garrison

  will continue to incur response costs in the future.

         243.    Defendants Benham, Cauchi and LaPoint each had the authority to direct,

  manage and control, and each of them did direct, manage and control, the acceptance,

  intake, handling, disposition, treatment, storage and disposal of the CRTs and other

  e-waste at the Properties.

         244.    CERCLA § 107(a)(2), 42 U.S.C. § 9607(a)(2) provides, in pertinent part,

  that any person who at the time of disposal of any hazardous substance operated a facility

  at which such hazardous substances were disposed of is liable to “any person” who, as a

  result of a release or threatened release of hazardous substances from the facility, incurs

  response costs consistent with the NCP. As such, the Closed Loop Defendants are each

  liable under CERCLA to Garrison for all of Garrison’s response costs for the Properties.

         245.    Each of the other Defendants and their predecessors were persons,

  including entities and individuals, who: (a) are liable under CERCLA § 107(a)(3), 42

  U.S.C. § 9607(a)(3), as persons who arranged with a third party for the disposal or

  treatment at the Closed Loop Defendants’ facility of CRTs owned or possessed by them; or

  (b) are liable under CERCLA § 107(a)(4), 42 U.S.C. § 9607(a)(4), as persons who accepted

  CRTs for transport to the Closed Loop Defendants’ facility selected by such person. As



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  such, the other Defendants and their predecessors are each liable under CERCLA for the

  environmental response costs for the Properties.

         246.    Plaintiffs are also entitled to statutory interest pursuant to 42 U.S.C. §

  9607(a)(4).

                                THIRD CAUSE OF ACTION

                                   (Common Law Negligence)

         247.    Garrison repeats and realleges the allegations in Paragraphs 1 through 246

  of this Complaint as if fully set forth herein.

         248.    Each of the Defendants owed a duty to Garrison, the owner of the

  Properties, to use reasonable care to avoid causing reasonably foreseeable damage to the

  Properties.

         249.    A reasonable and prudent person engaged in the transport of, or arranging

  for the transport of, CRTs and other e-waste exercises due diligence on downstream

  recipients to avoid causing injury to public health, property, or the environment, as

  discussed in Paragraph 206(d).

         250.    At all times relevant, Garrison detrimentally relied on the Closed Loop

  Defendants’ representations that they had a feasible means of recycling the CRTs that were

  accumulated at the Properties.

         251.    At    all   times    relevant,     Garrison   detrimentally   relied   on   the

  Arranger/Transporter Defendants’ due diligence on Defendant Closed Loop and failure to

  perform their contractual obligations to Defendant Closed Loop in compliance with

  applicable federal and state hazardous waste law, which required a feasible means of

  recycling the CRTs and other e-waste disposed of at the Properties.



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             252.   The Arranger/Transporter Defendants created the condition that caused

  damage to Garrison by transporting and arranging for the transport for CRTs and other

  e-waste to the Properties, despite the fact that there was no feasible means of recycling

  them, whereas such acts and omissions advanced to a point so as to have launched a force

  or instrument of harm against Garrison, as the owner of the Properties.

             253.   By the acts and omissions of Defendants, Defendants were negligent and

  breached their duties to Garrison, thereby causing reasonably foreseeable damage to

  Garrison, as the owner of the Properties.

             254.   As a direct and proximate result of the acts and omissions of Defendants,

  Garrison cannot rent or sell the Properties in their present condition and has suffered and

  continues to suffer physical harm to the Properties as well as economic harm, including,

  but not limited to, loss of rent, loss of business opportunity, and costs of environmental

  cleanup.

             255.   The Defendants’ sham recycling scheme was designed to shift the costs of

  disposing of the CRTs and other e-waste in the Properties directly to Garrison, the owner of

  the Properties.

             256.   The Defendants knew or should have known that their actions created strict

  liability under CERCLA and RCRA for owners of properties at which there are releases of

  hazardous substances or wastes, even when those properties are contaminated by third

  parties.

             257.   Furthermore, Defendants acted with conscious disregard for the hazards

  associated with the hazardous substances they handled at the Properties, and through their

  reckless acts and omissions caused the release or threatened release of hazardous



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  substances and wastes at the Properties for which the owner of the Properties may be held

  liable under federal and state hazardous waste law.

                                      REQUEST FOR RELIEF

           WHEREFORE, Plaintiff Garrison Southfield Park LLC respectfully requests entry

  of judgment in its favor:

           A.     With respect to the First Cause of Action, declaring that Garrison is entitled

  to cost recovery for the removal of the CRTs and other e-waste and associated abatement

  costs;

           B.     With respect to the Second Cause of Action, awarding Garrison damages in

  the amount of at least $14,181,553.74;

           C.     With respect to the Third Cause of Action, awarding Garrison damages in

  the amount of at least $14,181,553.74; and

           D.     Granting such other and further relief in law or equity as the Court may

  deem proper.

  Dated: September 5, 2017



                                             Respectfully submitted,

                                             Trial Attorney:

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                                      JURY DEMAND

         Plaintiff hereby demands a trial by jury on all issues so triable in this case.


                                                /s/ Jack A. Van Kley

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                                                Park LLC




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